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                                                     EXHIBIT B
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                                STATE OF MICHIGAN
                          KALAMAZOO COUNTY CIRCUIT COURT


  STRYKER EMPLOYMENT COMPANY, LLC,                       Case No. 22-             -CB
  a Michigan limited liability company; and
  HOWMEDICA OSTEONICS CORP., a New                       Honorable
  Jersey corporation and subsidiary of STRYKER
  CORPORATION, a Michigan corporation

          Plaintiffs,                                    MOTION FOR EX PARTE TEMPORARY
  v                                                      RESTRAINING ORDER AND
                                                         PRELIMINARY INJUNCTION AND
  JAFAR ABBAS, an individual,                            BRIEF IN SUPPORT

          Defendant.

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        Plaintiffs Stryker Employment Company, LLC and Howmedica Osteonics Corp., a subsidiary

of Stryker Corporation, acting through its Spine Division (collectively, “Stryker Spine”), move this

Court, pursuant to MCR 3.310, for a Temporary Restraining Order (“TRO”) and thereafter a Preliminary

Injunction in the form attached as Attachment A. This Motion is supported by the accompanying Brief

in Support and the Verified Complaint filed in this matter.

                                          INTRODUCTION

        Jafar Abbas (“Abbas”) is a former Sales Operations Manager for Stryker Spine. Bridging the

worlds of sales and finance for nearly nine years, Abbas gained deep knowledge of Stryker Spine’s most

sensitive financial and business information and developed deep and meaningful relationships with

Stryker Spine’s sales representatives, distributors, and customers alike. This experience left Abbas

uniquely situated to understand and exploit all aspects of Stryker Spine’s sales operations, finances,
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products, and sales personnel to enhance Stryker Spine’s strategy in the highly competitive Spine market.

Yet, on May 20, 2022, Abbas resigned his position with Stryker Spine to take a new job as the Director

of Strategy for Alphatec Spine, Inc. (“Alphatec”), a direct competitor of Stryker Spine that has

systematically engaged in nationwide efforts to raid Stryker Spine’s sales operations to gain access to

Stryker Spine’s Confidential Information, trade secrets, customer goodwill, and talent. Abbas is just

Alphatec’s most recent target.

        Abbas accepted employment at Alphatec despite the fact that, since beginning his employment

at Stryker Spine, Abbas agreed he would not work for any competitor, such as Alphatec, for a 12-month

period after terminating his employment with Stryker Spine, an obligation that he reiterated on April 4,

2022, when he executed an updated Stryker Corporation Confidentiality, Intellectual Property, Non-

Competition and Non-Solicitation Agreement for U.S. Employees (the “Noncompete Agreement”) in

exchange for a stock option and restricted stock units award for Stryker Corporation. (Ver. Compl. Ex

A; Ver. Compl. ¶¶ 4, 14.) Furthermore, Abbas stands poised to use and disclose significant amounts of

Stryker Spine’s Confidential Information1 and trade secrets in his new role at Alphatec, a violation of

both the Noncompete Agreement and the Michigan Uniform Trade Secrets Act (“MUTSA”), MCL

445.1901 et seq. Therefore, Stryker Spine respectfully requests that this Court enter the TRO attached as

Attachment A, and thereafter a preliminary and permanent injunction.

                                           BACKGROUND

Stryker Spine’s Business and Alphatec’s Corporate Raiding

        Stryker Spine is a global leader in the development, manufacture and sale of spinal implants,

instruments, and related products and services, which make spinal surgeries and recoveries simpler,




1
 The definition of Confidential Information, as used in this Motion, is pulled from Section 2.2 of the
Noncompete Agreement which is cited below. (Ver. Compl. Ex A.)




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faster, and more effective. (Ver. Compl. ¶ 10.) Stryker Spine products have broad appeal and acceptance

in the marketplace and within the spinal surgery community. (Id. ¶ 12.) The spinal surgery industry in

which Stryker Spine operates is highly competitive. (Id. ¶¶ 37, 51.)

        Like Stryker Spine, Alphatec provides spinal implants and related products and services and,

therefore, directly competes with Stryker Spine. (Id. ¶¶ 37, 51.) In fact, Alphatec and Stryker Spine

regularly compete to place implants in the same hospitals – often where Stryker Spine has placed, or is

negotiating to place, capital equipment which aids in the sale of implants, a sales strategy that Abbas is

deeply familiar with through the ACES and other programs at Stryker Spine. (Id. ¶ 52.)

        Since at least 2018, Alphatec has employed a strategy to systematically and unlawfully

misappropriate Stryker Spine’s Confidential Information, trade secrets, customer goodwill, and talent by

raiding Stryker Spine’s key sales personnel and tortiously interfering with Stryker Spine’s third-party

business relationships. (Id. ¶ 38.) Indeed, Pat Miles, Alphatec’s CEO has publicly stated that it is his

intent to rely upon the “Stryker prowess from a sales force know-how standpoint” in order to build

Alphatec’s business. (Id. ¶ 39.) Alphatec leadership has also touted that 9 of its 11 senior sales leaders,

who are responsible for recruiting sales representatives across the country, came to Alphatec from Stryker

Spine and are the baseline ingredient of Alphatec’s so-called “Disciplined Approach to Service.” (Id. ¶

40.)

        Alphatec’s solicitation of Stryker Spine’s sales force poses harm that goes far beyond monetary

losses. (Id. ¶ 42.) Stryker Spine’s former sales representatives have maliciously exploited Stryker Spine’s

confidential and proprietary information to compete unfairly against Stryker Spine on behalf of Alphatec.

(Id.) Armed with this information, Alphatec has had an unfair advantage in targeting Stryker Spine’s

customers and employees, and has acquired a valuable roadmap for designing and improving its own

products, customer relationships, and goodwill. (Id.) Essentially, Alphatec seeks to misappropriate




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decades of Stryker Spine’s client development and customer service techniques in order to unfairly

shortcut its own success at Stryker Spine’s expense. (Id.)

        To defend against these unlawful practices, protect its trade secrets and enforce its contractual

relationships, Stryker Spine is currently engaged in litigation with Alphatec and others related to

Alphatec’s unlawful activities, including a lawsuit pending in the United States District Court for the

Middle District of Florida, Howmedica Osteonics Corp. v. Alphatec Spine, Inc. (3:21-cv-00789), and

two others in the United States District Court for the District of New Jersey: Howmedica Osteonics Corp.

v. Howard et al. (2:19-cv-19254) and Howmedica Osteonics Corp. v. Lewers et al. (2:20-cv-14310)

(collectively, the “Alphatec Litigation Matters”). (Ver. Compl. ¶ 43.)

Stryker Spine Hires Abbas

        Abbas began working for Stryker Spine on July 15, 2013, as a Associate Manager of Finance.

(Id. ¶ 13.) As a condition of his employment, Abbas was required to, and did, execute a Stryker

Confidentiality, Intellectual Property, Non-Competition and Non-Solicitation Agreement, which had

terms substantially similar to the Noncompete Agreement. (Id. ¶ 14.) During his employment with

Stryker Spine, Abbas received numerous promotions, pay increases, increases in responsibility, and

increased access to Stryker Spine’s Confidential Information and trade secrets. (Id. ¶ 15.) Most recently

on January 1, 2021, Stryker Spine transitioned Abbas to Sales Operations Manager. (Id. ¶ 16.) In that

role, Abbas’ duties included leading various projects and tasks associated with customer sales and

financing; developing calculation and reporting tools; building trusted relationships inside and outside

Stryker Spine with customers, distributors and sales representatives; influencing decisions with

customers; driving urgency on critical priorities; having an advanced understanding of spine business

and its competition; and working with the sales and marketing leadership teams to identify domestic sales

issues and analyze and communicate recommendations for strategic improvements throughout the U.S.




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based on customer, geography, sales representatives, surgeons, and/or products, when applicable. (Id. ¶

17.)

        On April 4, 2022, as part of his continued employment with Stryker Spine, Abbas executed the

updated Noncompete Agreement. (Id. ¶¶ 4, 14.) Section 5.1 of the Noncompete Agreement states:

        I recognize that Confidential Information[2] is of great value to Stryker, that Stryker has
        legitimate business interests in protecting its Confidential Information, and that the
        disclosure to anyone not authorized to receive such information, including any entity that
        competes with Stryker, will cause immediate irreparable injury to Stryker. Unless I first
        secure Stryker’s written consent, I will not disclose, use, disseminate, identify by topic
        or subject, lecture upon or publish Confidential Information. [...] [(Ver. Compl. Ex A.)]

In order to protect this Confidential Information and prevent third parties and former employees from

exploiting Stryker Spine’s trade secrets and goodwill, Section 6.3(a) of the Noncompete Agreement also

provides, in relevant part:

        During my employment with Stryker and during the Restricted Period,[3] I will not work
        (as an employee, consultant, contractor, agent, or otherwise) for, or render services
        directly or indirectly to, any Conflicting Organization[4] in which the services I may

2
  “‘Confidential Information’ means know-how, trade secrets, and technical, business and financial
information and any other non-public information in any way learned by me, disclosed to me or developed
by me during my employment with Stryker, including, but not limited to (a) prices, renewal dates and other
detailed terms of customer or supplier contracts and proposals; (b) information concerning Stryker’s
customers, clients, referral sources and vendors, and potential customers, clients, referral sources and
vendors, including, but not limited to, names of these entities or their employees or representatives,
preferences, needs or requirements, purchasing or sales histories, or other customer or client-specific
information; (c) supplier and distributor lists; (d) pricing policies, methods of delivering services and
products, and marketing and sales plans or strategies; (e) products, product know-how, product technology
and product development strategies and plans; (f) employees, personnel or payroll records or information;
(g) forecasts, budgets and other non-public financial information; (h) acquisitions, divestitures, expansion
plans, management policies and other business strategies; (i) inventions, research, development,
manufacturing, purchasing, finance processes, technologies, machines, computer software, computer
hardware, automated systems, methods, engineering, marketing, merchandising, and selling; and (j)
information belonging to third parties which has been disclosed to Stryker in confidence. Confidential
Information shall not include information that is or becomes part of the public domain, such that it is readily
available to the public, through no fault of mine.” (Ver. Compl. Ex A, § 2.2.)
3
  “‘Restricted Period’ means the twelve-month period following termination of my employment with
Stryker, regardless of the reason for termination.” (Ver. Compl. Ex A, § 2.8.)
4
 “‘Conflicting Organization’ means any person or organization which is engaged in or about to become
engaged in research on, consulting regarding, or development, production, marketing, or selling of a
Conflicting Product or Service[.]” (Ver. Compl. Ex A, § 2.4.)




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        provide could enhance the use or marketability of a Conflicting Product or Service[5] by
        application of Confidential Information which I have had access to during my
        employment or while working for a Stryker agency. [...] If I accept employment with a
        Conflicting Organization, I will provide Stryker written assurances satisfactory to
        Stryker that indicate that I will not render services directly or indirectly, during the
        Restricted Period, in connection with any Conflicting Product or Service. I understand
        that Stryker may also require written assurances from the Conflicting Organization. I also
        agree that during my employment with Stryker and during the Restricted Period, I will
        not render services to any organization or person in a position similar in responsibilities
        to any position I held with Stryker during the twenty-four (24) months prior to the
        termination of my employment with Stryker for any reason or in any position in which I
        could use Confidential Information to the detriment of Stryker. [(Ver. Compl. Ex A.)]

And, finally, Section 6.4 of the Noncompete Agreement provides:

        I agree that during my employment with Stryker and during the Restricted Period, I will
        not, directly or indirectly, solicit, induce or influence, or attempt to solicit, induce or
        influence, any person engaged as an employee, independent contractor or agent of
        Stryker to terminate his, her or its employment and/or business relationship with Stryker
        or do any act which may result in the impairment of the relationship between Stryker and
        its employees, independent contractors or agents. [(Ver. Compl. Ex A.)]

Abbas’ Access to Stryker Spine’s Confidential Information and Trade Secrets

        While working for Stryker Spine, Abbas had access to and made use of significant amounts of

Stryker Spine’s Confidential Information and trade secrets. (Id. ¶ 18.) For example, Abbas was

responsible for cross-divisional collaboration between Stryker Spine’s Enabling Technology and Implant

business units, coordinating the work of the finance and sales departments as it related to the placement

of navigation systems and instruments and implant commitments with customers via the highly

successful Acquiring Capital Equipment (“ACES”) program. (Id. ¶ 19.) Abbas was often a key player in

closing ACES deals with Stryker Spine customers. (Id.) Through the ACES program, Abbas gained

deep familiarity with customer needs and with the costs, benefits, sales margins, and profits for Stryker


5
  “‘Conflicting Product or Service’ means any product, process, technology, machine, invention or service
of any person or organization other than Stryker in existence or under development which is similar to,
resembles, competes with or is intended to resemble or compete with a product, process, technology,
machine, invention or service upon which I have worked or about which I was knowledgeable during the
last twenty-four (24) months of my employment with Stryker or while providing products or services to a
Stryker customer[.]” (Ver. Compl. Ex A, § 2.3.)




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Spine’s products associated with the ACES program specifically, and Stryker Spine’s business strategy

at large. (Id.)

         Abbas was also a key player in Stryker Spine’s upgrade strategy, a breakoff of the ACES

program, working with customers in often multi-million-dollar deals to upgrade instrument and machine

placements. (Id. ¶ 20.) While working on the ACES, upgrade, and other programs for Stryker Spine,

Abbas would regularly present, sell, and negotiate unique financing options with customers and, in the

course of such discussions, made regular contacts with C-suite officers and other decision-makers at

Stryker Spine’s customers. (Id. ¶ 21.)

         As the Sales Operations Manager and in prior roles, Abbas regularly participated on a weekly

team call with Enabling Technology’s VP of Sales and the regional sales managers for Stryker Spine and

thereby learned detailed information regarding Stryker Spine’s nationwide sales and marketing

strategies, customer targets, and sales goals. (Id. ¶ 22.) In fact, Abbas requested to be allowed on this call

on his last day of employment, even knowing that he would come into contact with this deeply sensitive

information – though his request was swiftly rejected given its suspicious nature. (Id. ¶ 50.) Abbas also

was introduced to and worked with all of Stryker Spine’s sales representatives throughout the United

States. (Id. ¶ 22.) Because of his reporting duties as the Manager of Sales Operations, Abbas also had

particularized knowledge of Stryker Spine’s sales compensation structure and commissions plans. (Id. ¶

23.)

         Given his extensive knowledge of Stryker Spine’s sales and financial operations, Abbas was

called upon and personally assisted Stryker Spine’s legal team with compiling reports and information

related to Stryker Spine’s litigation strategy and damages in the Alphatec Litigation Matters including,

without limitation, working with counsel to compile financial and sales information associated with

certain surgeons throughout the United States. (Id. ¶ 44.) Therefore, Abbas learned of key components




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of litigation strategies and positions relevant to ongoing disputes between Stryker Spine and his new

employer Alphatec and others in the aforementioned Alphatec Litigation Matters, all of which constitute

Confidential Information and trade secrets. (Id.)

        From May 16, 2022 to May 19, 2022, just days before his resignation, and well after he knew he

would be leaving Stryker Spine, Abbas attended a regional sales meeting and training for Q Guidance, a

navigation system that Stryker Spine will soon be launching (“Q Guidance Meeting”). (Id. ¶ 24.) At this

meeting, Stryker Spine provided training on product nuances associated with Q Guidance that are not

known to the public. (Id.) Stryker Spine also internally unveiled a confidential product in the initial stages

of development. (Id.) During this meeting, Abbas led training with the Strategic Sales team focusing on

ACES best practices and the use of Sales Force for pricing, quoting, and to find business prospects. (Id.

¶ 25.) He also discussed confidential strategy with Stryker Spine Sales representatives regarding how to

outmaneuver and beat Stryker Spine’s competitors – including Alphatec. (Id.)

        Abbas was also responsible for generating numerous reports at Stryker Spine, including without

limitation, ACES reporting, product price/volume/mix reporting, and outstanding auto-replenishment

orders reporting, and he thus became familiar with the economic and inventory positions of Stryker Spine

and its customers. (Id. ¶ 26.) Abbas had full access to and regularly utilized PowerBI, the sales

management platform and database where all Stryker Spine customer sales information, forecasting,

quotas, and commission structures were managed and stored. (Id. ¶ 27.)

        None of these pieces of Confidential Information or trade secrets learned by Abbas are known

outside of Stryker Spine and all of them are extremely valuable to Stryker Spine in maintaining a

competitive edge. (Id. ¶ 34, 35.) Stryker Spine has also taken numerous steps to safeguard the

Confidential Information and trade secrets in Abbas’ possession and its other Confidential Information

and trade secrets. (Id. ¶ 36.) For example, Stryker Spine has its employees and other agents execute




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confidentiality and noncompete agreements, such as the Noncompete Agreement. (Id.) Stryker Spine has

employed password protection on its computers and other electronic devices. (Id.) Stryker Spine has also

initiated numerous lawsuits, including the Alphatec Litigation Matters and this case, to enforce its

confidentiality and noncompete agreements and to stop outsiders from accessing Stryker Spine’s

Confidential Information and trade secrets. (Id.)

Abbas’ Separation from Stryker Spine and Acceptance of Employment with Alphatec

        In the summer of 2021, as part of its nationwide scheme to raid Stryker Spine, Alphatec attempted

to recruit Abbas away, though it appears this initial attempt was unsuccessful. (Id. ¶ 45.) However, on

May 20, 2022, Abbas resigned from Stryker Spine and told his supervisor that he was leaving to take a

position with Alphatec. (Id.) This was consistent with Abbas’ statements in his exit interview, in which

he reported to Stryker’s Human Resources department that he was leaving to accept a position as

Alphatec’s Director of Strategy. (Id. ¶ 46.)

        Abbas told his supervisor that, in his new role, he would be reporting to Alphatec’s Vice

President of Sales, David Sponsel – another former Stryker Spine employee. (Id. ¶ 47.) Abbas also told

his Stryker supervisor that in his Director of Strategy position for Alphatec he would be responsible for

understanding Alphatec’s sales landscape, for setting the direction of sales goals, and that a portion of his

compensation at Alphatec would be tied to successful sales results in the United States. (Id. ¶ 48.)

        On May 24, 2022, Stryker Spine emailed Abbas a letter reminding him of his obligations under

the Noncompete Agreement. (Id. ¶ 60; Ver. Compl. Ex B.) Pursuant to section 6.5 of the Noncompete

Agreement, Stryker Spine also asked Abbas to report on his title and job duties. (Id.) On May 27, 2022,

Stryker Spine emailed Abbas a second time, attaching the May 24, 2022 letter and his Noncompete

Agreement, reiterated its demand that Abbas provide a written description of his position and job duties

at Alphatec, and demanded that Abbas not begin working at Alphatec while it investigates this matter

further. (Id.; Ver. Compl. Ex C.) Instead of responding himself, Alphatec’s Legal Affairs & Litigation



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Director responded on Abbas’ behalf and attached a summary of Abbas’ Alphatec duties and

responsibilities. (Ver. Compl. ¶¶ 61, 62; Ver. Compl. Ex D.) Rather than assuage Stryker Spine’s

concerns, the May 31, 2022 job description deepened them. (Ver. Compl. ¶ 63.) Abbas’ new job

description – as further stated in the Verified Complaint – makes clear that he will be performing

essentially the same duties for Alphatec that he previously performed for Stryker Spine, including

developing sales strategy and customer relationships, developing sales force compensation and

commission plans, and developing customer financing relationships and strategies. (Id.; Ver. Compl. Ex

D.)

        Also concerning is that, upon information and belief, Abbas is influencing and/or will influence

other employees, independent contractors, and/or agents of Stryker Spine, either directly or indirectly, to

leave Stryker Spine to join Alphatec. (Id. ¶ 65.) When leaving Stryker Spine, Abbas called numerous

other employees and agents of Stryker Spine, including sales representatives, to inform them of his intent

to join Alphatec. (Id.)

                                               ARGUMENT

        STRYKER SPINE SATISFIES THE REQUIREMENTS FOR INJUNCTIVE RELIEF

        Circuit courts are equitable courts with the power to issue injunctive relief. Universal Am-Can v

Attorney General, 197 Mich App 34, 37; 494 NW2d 787 (1992). Under the Court’s equitable powers,

Stryker Spine seeks a TRO pursuant to MCR 3.310(A), which this Court has the power to issue at its

discretion. See, e.g., Attorney General v Thomas Solvent Co, 146 Mich App 55, 60-61; 380 NW2d 53

(1985). In exercising its discretion, this Court must balance four factors: (1) whether the party seeking

the injunction will suffer irreparable injury if the injunction is not issued; (2) whether it is likely that the

party seeking the injunction will prevail on the merits; (3) whether the party seeking the injunction will

be harmed more if the injunction does not issue than the opposing party will be harmed if an injunction

is granted; and (4) whether the issuance of the injunction will promote the public’s interest. Thermatool




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Corp v Borzym, 227 Mich App 366, 376; 575 NW2d 334 (1998); Michigan State Employees Ass’n v

Department of Mental Health, 421 Mich 152, 157-158; 365 NW2d 93 (1984); Campau v McMath, 185

Mich App 724, 728-729; 463 NW2d 186 (1990). Each of these factors favors Stryker Spine.

        A.      Stryker Spine will suffer irreparable injury without injunctive relief.

        Without securing a TRO and subsequent injunctive relief, Stryker Spine will suffer irreparable

injury, or an actual “noncompensible injury for which there is no legal measurement of damages or for

which damages cannot be determined with a sufficient degree of certainty.” Thermatool, 227 Mich App

at 338-339. Michigan courts have repeatedly found that relationships formed between the representatives

of a business and its customers are protectable business interests, and equitable relief is appropriate to

preserve a business’s goodwill with its customers. See St Clair Medical, PC v Borgiel, 270 Mich App

260, 268-69; 715 NW2d 914 (2006) (loss of customer goodwill supports a finding of irreparable harm);

Superior Consulting Co, Inc v Walling, 851 F Supp 839 (ED Mich 1994) (same). Similarly, Michigan

courts hold that the use or disclosure of confidential information causes irreparable harm to the owner of

the confidential information. See, e.g., Kelly Services, Inc v Noretto, 495 F Supp 2d 645, 659 (ED Mich,

2007); Stryker Corp v Bruty, No. 1:13-CV-288, 2013 WL 1962391, at *7 (WD Mich May 10, 2013)

(“the unauthorized use — actual or threatened—of confidential information constitutes

irreparable harm sufficient for issuance of an injunction.”) Finally, a disclosure of privileged information

is also considered irreparable. In re Perrigo Co, 128 F3d 430, 437 (CA 6, 1997) (“We find, as have

several courts, that forced disclosure of privileged material may bring about irreparable harm.”).

        If Abbas begins or continues working at Alphatec or any other competitor, Stryker Spine would

experience immediate and irreparable injury, including damage to its customer relationships and loss of

its Confidential Information and trade secrets. As stated above, Abbas worked closely with Stryker

Spine’s sales representatives across the United States as well as directly with key customer decision-

makers in the spinal implant industry. In his new Director of Strategy role where he will be reporting



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directly to the Alphatec Vice President of Sales, Abbas can and undoubtedly will be asked to assist

Alphatec in attacking these targets. Damages here would be especially difficult to calculate as, unlike

sales representatives, Abbas worked with customers and representatives across the United States, rather

than in a limited territory.

        Relatedly, Stryker Spine is also at immediate risk that Abbas will use or disclose Stryker Spine’s

Confidential Information and trade secrets, of which he gained deep familiarly, for the benefit of

Alphatec. Once this information is in Alphatec’s hands, the damage is done, and Stryker Spine will never

be able to wind back the clock. These are the types of harms that are intended to be remedied by injunctive

relief because damages at law cannot compensate for them. See e.g. Basicomputer Corp v Scott, 973

F2d 507, 511-12 (CA 6, 1992) (loss of customer goodwill is irreparable as a matter of law because it is

difficult, if not impossible, to determine the resulting damages); RGIS, LLC v Gerdes, 817 Fed Appx

158, 163 (CA 6, 2020) (disclosure of trade secrets results in irreparable harm). In fact, Abbas specifically

agreed that Stryker Spine “will suffer irreparable injury, loss, harm and damage if [Abbas] engage[s] in

conduct prohibited in the Noncompete Agreement[.]” (Ver. Compl. Ex A, § 7.6.)

        On the issue of Abbas’ possession of privileged information and knowledge of work product and

litigation strategy, it is indisputable that if these were disclosed to counsel or the defendants in the

Alphatec Litigation Matters, it could cause significant harm that would be nearly impossible to calculate.

See, e.g. FCA US LLC v Bullock, No. 17-CV-13972, 2018 WL 1064536, at *3 (ED Mich, February 26,

2018) (“if Bullock does in fact have confidential information from FCA that she subsequently uses

against it in litigation, damages flowing from such harm would be difficult to quantify and would

constitute irreparable harm.”) (Attachment B.) Therefore, Abbas should not be permitted to have written

or verbal ex parte communications with any attorneys who represent Alphatec or any other defendants

in the Alphatec Litigation Matters and should otherwise be prohibited from disclosing any privileged or




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strategic information related to Stryker Spine or its litigation strategies in those matters. Moreover, given

that Stryker Spine has never waived this privilege, ethical rules would prevent opposing counsel in the

Alphatec Litigation Matters from invading this privilege through Abbas. See, e.g., MRPC 4.4 (“In

representing a client, a lawyer shall not... use methods of obtaining evidence that violate the legal rights

of [a third] person.” (emphasis added.))

        A damages award will not, and cannot, fully remedy any of the foregoing injuries. Therefore,

without the attached TRO, Stryker Spine will suffer immediate and irreparable injury.

        B.      Stryker Spine is likely to succeed on the merits

        Stryker Spine is likely to succeed on each portion of its complaint that is relevant to this Motion.

                         Violation of the Noncompete Agreement

        To succeed on a claim for breach of contract, a plaintiff must prove “(1) there was a contract, (2)

the other party breached the contract, and (3) the breach resulted in damages to the party claiming

breach.” Bank of Am, NA v First Am Title Ins Co, 499 Mich 74, 100; 878 NW2d 816 (2016). Stryker

Spine can establish each of these elements.

        First, here, it is indisputable that the Noncompete Agreement is a valid enforceable contract and,

further, that Section 6.3 is an appropriate noncompetition provision under MCL 445.774a(1) because it

protects Stryker Spine’s reasonable competitive business interests, including client goodwill,

Confidential Information, and trade secrets. See, e.g. MCL 445.774a(1) (“An employer may obtain from

an employee an agreement or covenant which protects an employer's reasonable competitive business

interests and expressly prohibits an employee from engaging in employment or a line of business after

termination of employment if the agreement or covenant is reasonable as to its duration, geographical

area, and the type of employment or line of business.”); Rooyakker & Sitz, PLLC v Plante & Moran,

PLLC, 276 Mich App 146, 158; 742 NW2d 409 (2007) (“preventing the anticompetitive use of

confidential information is a legitimate business interest” (internal citations omitted)); A Complete Home



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Care Agency, Inc v Gutierrez, unpublished opinion of the Court of Appeals, issued June, 29, 2004

(Docket No. 246280), 2004 WL 1459450, p *5 (“The legitimate business interest is the retaining of

clients and goodwill.”). (Attachment C.)

        The Noncompete Agreement is limited in duration in that it lasts only one year. Lowry Comput

Prods v Head, 984 F Supp 1111, 1116 (ED Mich 1997) (“As to duration, courts have upheld time periods

of six months to three years.”). Like the industry at issue in Lowry, where the Court upheld a one-year

noncompete agreement (id), the spinal industry is highly competitive. The geographic scope is also

appropriate because Abbas worked with customers and sales representatives across the entire United

States. ACS Consultant Co, Inc v Williams, No. 06-11301, 2006 WL 897559, at *7 (ED Mich, April 6,

2006) (nationwide scope of noncompete was reasonable where plaintiff’s consulting business had clients

in 48 states and serviced clients in all 50 states); Owens v Hatler, 373 Mich 289, 293; 129 NW2d 404

(1964) (“[T]he restraint may be as broad as the business covered by the agreement and of sufficient scope

to prevent competition therewith.”). Finally, the line of business subject to the Noncompete Agreement

is also narrowly tailored as Abbas is only prohibited from working for “any Conflicting Organization in

which the services [Abbas] may provide could enhance the use or marketability of a Conflicting Product

or Service by application of Confidential Information” that Abbas had access to during his employment

with Stryker Spine. (Ver. Compl. Ex A., § 6.39(a).)

        Second, Stryker will have no issue showing Abbas’ numerous breaches of the Noncompete

Agreement. Beginning with Section 6.3, it cannot be disputed that Alphatec, which is focused on the sale

and service of spinal implant technologies, is a Conflicting Organization that offers Conflicting Products

and Services. Abbas was a key player in the sale of those technologies, working with sales representatives

and customers alike to develop financing options and sell implants, capital equipment, and upgrades. At

Alphatec, where Abbas will be the Director of Strategy focusing on sales direction, compensated in part




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on the success of US sales, and reporting to the Vice President of Sales, it indisputable that Stryker

Spine’s Confidential Information and trade secrets will inevitably be used to enhance Alphatec’s market

position. In particular, Alphatec would materially benefit by knowing Stryker Spine’s pricing, customer

targets, customer contacts, and product mix and volume – all information that Abbas possesses because

of his work for Stryker Spine. Further, given that Alphatec’s main strategy has been converting Stryker

Spine’s business by unlawfully soliciting its sales representatives, Alphatec could benefit from knowing

who those representatives are, their successes, and their current compensation – all of which is known to

Abbas. In fact, as can be seen from the May 31, 2022 job description, Abbas will be performing

essentially the same duties for Alphatec as he was for Stryker Spine. Therefore, since Abbas has accepted

employment at Alphatec within one year of leaving Stryker Spine, he is undoubtedly in violation of

Section 6.3 of the Noncompete Agreement.

        Next, since Abbas is bringing significant amounts of Stryker Spine Confidential Information and

trade secrets to his sales role at Alphatec, it is inevitable that, if Abbas has not already used or disclosed

this information for the benefit of Alphatec, he will do so in the course of his employment. Regardless of

intent, he cannot avoid considering this information given the significant degree of overlap in the

positions. Therefore, Abbas has breached, or will breach, Section 5.1 of the Noncompete Agreement. In

fact, during his last days at Stryker Spine, Abbas seemed intent on gaining critical product and market

information that could not possibly have been used to benefit Stryker Spine; he knew full well that he

was leaving Stryker Spine within days, yet he attended the product reveals and trainings at the Q

Guidance Meeting and sought to attend the weekly sales meeting on his last day at Stryker Spine.

        Abbas also called numerous agents and employees of Stryker Spine in his final days to tell them

he was joining Alphatec. While this may seem innocuous, this is extremely concerning given Alphatec’s

raiding of Stryker Spine’s employees, which has given rise to numerous lawsuits – including this one




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and the Alphatec Litigation Matters. If Abbas is directly or indirectly assisting Alphatec in recruiting

Stryker Spine employees, independent contractors, or agent, this would constitute a violation of Section

6.4 of the Noncompete Agreement.

        Third, the foregoing will also inevitably give rise to significant damages to Stryker Spine in terms

of loss of customer relationships, Confidential Information, trade secrets, and relationships with sales

representatives and distributors. For these reasons, Stryker Spine is likely to succeed on the merits of its

claims related to breach of the Noncompete Agreement.

                        Violations of MUTSA

        Stryker Spine is likely to succeed on its MUTSA claims against Abbas. Michigan law expressly

prohibits the actual or threatened misappropriation of trade secrets and grants the Court the authority to

enter an injunction to ensure trade secrets are not disclosed. MCL 445.1903. Abbas’ imminent

employment with Alphatec, his access to Stryker Spine trade secrets, and the acquisition and attempted

acquisition of additional trade secrets in the days leading up to his resignation, as well as established

Michigan law, support granting Stryker Spine a TRO to prevent it from being irreparably harmed.

        A significant amount of the Confidential Information Abbas was provided during his

employment with Stryker Spine constitutes protectable trade secrets. Abbas had access to and made use

of highly confidential customer lists, customer needs, customer contacts, past and present negotiations,

sales targets, sales strategies, compensation structures of sales representatives, sales representative and

distributor contact information, financial data, pricing, sales margins, financing strategies, incentive

programs, privileged information, litigation strategies, and product launches. In fact, he also had access

to and openly discussed Stryker Spine’s competition strategies.

        Under Section 5.1 of the Noncompete Agreement, Abbas agreed that this information constituted

confidential and protectable information, and further agreed not to use or disclose the information without

Stryker Spine’s consent. Accordingly, this information constitutes a protectable trade secret under



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MUTSA. See also, e.g., Actuator Specialties, Inc v Chinavare, unpublished opinion of the Court of

Appeals, issued December 1, 2011 (Docket No. 297915), 2011 WL 6004068, p *1–2 (confidential

engineering data and financial information was trade secret) (Attachment D); Spartan Graphics, Inc v

Entermarket Corp, unpublished opinion of the Court of Appeals, issued November 16, 2010 (Docket

No. 292235), 2010 WL 4628643, p *2 (confidential pricing information and sales strategies were trade

secrets) (Attachment E); Elec Planroom, Inc v McGraw-Hill Companies, Inc, 135 F Supp 2d 805, 819-

20 (ED Mich, 2001) (customer identities and needs may constitute trade secret information); Kelly Servs

v Noretto, 495 F Supp 2d 645, 658–659 (ED Mich 2007) (customer list that includes pricing and profit

information, customer contract details, and company marketing plans entitled to trade secret status).

        Litigation strategies and privileged information are also clearly trade secrets as they are

“information” that derives “economic value” in the civil litigation matters Abbas assisted on, “from not

being generally known to, and not being readily ascertainable by proper means by, other persons who

can obtain economic value from its disclosure or use,” including the opposing parties and their counsel.

MCL 445.1902(d). See also e.g. Chore-Time Equip, Inc v Big Dutchman, Inc, 255 F Supp 1020, 1021

(WD Mich, 1966) (“it generally is acknowledged that the attorney-client privilege is so sacred and so

compellingly important that the courts must, within their limits, guard it jealously.”). Moreover, “[w]hen

the client is an organization, the privilege attaches to communications between the attorney and any

employee or agent ‘authorized to speak on its behalf in relation to the subject matter of the

communication.’” Krug v Ingham Cty Sheriff’s Office, 264 Mich App 475, 485, 691 NW2d 50 (2004).

Here, Abbas was specifically asked by Stryker Spine’s counsel to prepare, consolidate, and deliver

financial information and data in support of Stryker Spine’s litigation position. Stryker Spine has not

waived its privilege.




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        Abbas’ actions leading up to and following his resignation from Stryker Spine, coupled with his

imminent employment with Alphatec, requires the Court to enter the TRO against Abbas to protect

Stryker Spine’s trade secrets. As noted above, under the MUTSA, the Court has the authority to enjoin

“the actual or threatened misappropriation of a trade secret.” MCL 445.1903 (emphasis added).

        An injunction is warranted to prevent threatened misappropriation of a trade secret when (1) a

valid trade secret exists; (2) the employee at issue has imminent plans to work for a competitor; and (3)

the employee demonstrates a “lack of trustworthiness beyond his decision to work for a competitor.”

Actuator Specialties, 2011 WL 6004068 at *3-4 (citing CMI Intern, Inc v Intermet Intern Corp, 251 Mich

App 125, 133; 649 NW2d 808 (2002)). As set forth above, a significant amount of Stryker Spine’s

Confidential Information in Abbas’ possession constitutes protectable trade secrets under Michigan law.

Additionally, Alphatec is without question a Stryker Spine competitor—a fact reaffirmed by ongoing

litigation between the two entities and on which Abbas assisted while employed at Stryker Spine.

        Finally, Abbas’ activities leading up to and following his employment demonstrate a substantial

lack of trustworthiness beyond simply his decision to work for Alphatec. Namely, without disclosing his

intentions and despite knowing that he would be leaving Stryker Spine that week – and therefore knowing

he would never need the information to benefit Stryker Spine – Abbas attended the Q Guidance Meeting

where, among other things, a new undisclosed product was revealed internally, he discussed strategies to

overcome competitors such as Alphatec, and inside information on the new Q Guidance Product was

disclosed. Abbas also asked to be on the weekly sales call on his last day despite knowing that deeply

sensitive client, financial, sales, and target information would be discussed. Equally suspicious is Abbas’

decision to call sales representatives throughout Stryker Spine to let them know he was joining Alphatec

despite knowing of his prospective employer’s corporate raiding.




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        For these reasons, Stryker Spine is likely to succeed on its MUTSA claim.

        C.       Both the balance of harms and the public interest weigh in favor of injunctive
                 relief

        Injunctive relief preventing Abbas from unfairly competing with Stryker Spine and otherwise

violating the Noncompete Agreement and MUTSA will do nothing more than prevent Abbas from doing

what he promised not to do in the first place and, indeed, what he is legally prohibited from doing.

Similarly, prohibiting Abbas from having ex parte communications with any attorneys who represent

Alphatec or any other defendants in the Alphatec Litigation Matters or otherwise disclosing any

privileged or strategic information related to Stryker Spine or its litigation strategies in those matters, will

do nothing more than prohibit Abbas from something he is also already prohibited by law from doing

and which lawyers are prohibited from inquiring about under MRPC 4.4. Stryker Spine, on the other

hand, will be irreparably harmed by loss of customer goodwill and the use and disclosure of its

Confidential Information, trade secrets, and privileged information. Granting a TRO and preliminary

injunction will merely return Stryker Spine and Abbas to the equitable positions they held prior to Abbas’

actual and threatened violations and will prevent further violations of the Noncompete Agreement,

MUTSA, and disclosure of privileged information. Therefore, the balance of harms weighs heavily in

Stryker Spine’s favor.

        Additionally, as a matter of statutory and public policy, the legislature has declared that

reasonable non-competition and confidentiality agreements such as the Noncompete Agreement are

enforceable and consistent with the public interest. See MCL 445.774a. The legislature has similarly

protected against the unauthorized disclosure of trade secrets and confidential information. See MCL

445.1901 et seq. In particular, MCL 445.1903 specifically empowers courts to enjoin actual or threatened

misappropriation of trade secrets. And that Michigan courts favor the protection of attorney-client

privilege is axiomatic and extends far back into the state’s history. See, e.g. Hamilton v People, 29 Mich




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173, 184 (1874) (“We concur fully in the broad and sensible doctrine laid down by Lord

Selborne in Minet v. Morgan, L. R., 8 Ch. Ap., 361, that neither client nor attorney can be compelled to

answer and disclose matters of confidence.”); Chore-Time, 255 F Supp at 1021 (“it generally is

acknowledged that the attorney-client privilege is so sacred and so compellingly important that the courts

must, within their limits, guard it jealously.”).

        Thus, all factors considered in awarding injunctive relief weigh in favor of awarding Stryker

Spine the TRO requested here.

                                              CONCLUSION

        Pursuant to the argument set forth above, Stryker Spine respectfully requests that this Court enter

the TRO attached as Attachment A, and thereafter a preliminary and permanent injunction.



 Dated: June 1, 2022                                  Warner Norcross + Judd LLP

                                                      /s/ Jarrod H. Trombley
                                                      Andrea J. Bernard (P49209)
                                                      Jarrod H. Trombley (P83517)
                                                      Attorneys for Plaintiff




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                                                 ATTACHMENT A
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                              STATE OF MICHIGAN
                        KALAMAZOO COUNTY CIRCUIT COURT
                               ____________________

  STRYKER EMPLOYMENT COMPANY,                    Case No. 22-                      -CB
  LLC, a Michigan limited liability company; and
  HOWMEDICA OSTEONICS CORP., a New               Honorable
  Jersey corporation and subsidiary of STRYKER
  CORPORATION, a Michigan corporation

  Plaintiffs,
  v

  JAFAR ABBAS, an individual,

                 Defendant.

  Andrea J. Bernard (P49209)
  Jarrod H. Trombley (P83517)
  Warner Norcross + Judd LLP
  150 Ottawa Ave, Suite 1500
  Grand Rapids, MI 49503
  616.752.2000
  Attorneys for Plaintiffs

        TEMPORARY RESTRAINING ORDER AND ORDER TO SHOW CAUSE


                    At a session of said Court, held in the City of Kalamazoo,
                          County of Kalamazoo, State of Michigan, this
                               ______ day of ____________, 2022

                        PRESENT HONORABLE __________________
                                         Circuit Court Judge

       This Court has read the Verified Complaint and the Motion for Temporary Restraining

Order and Brief in Support. Based on the foregoing, it appears that Plaintiffs do not have an

adequate remedy at law and that the actions of Defendant will cause immediate and irreparable

injury to Plaintiffs by injuring Plaintiffs’ goodwill with customers, by using and/or disclosing

Plaintiffs’ confidential information, and by using and/or disclosing Plaintiffs’ privileged

information and litigation strategies. It is recognized that this Order is entered without notice to
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prevent immediate and irreparable harm which would result from the delay required to affect such

notice. Therefore,

              IT IS HEREBY ORDERED AND ADJUDGED AS FOLLOWS:

              A. This Order will expire, absent modification or extension by this Court
                 or stipulation of the Parties, fourteen (14) days from the date this Order
                 is entered;

              B. Defendant is prohibited from working (as an employee, consultant,
                 contractor, agent, or otherwise) for, or rendering services directly or
                 indirectly to, Alphatec Spine Inc. or any of its parents, subsidiaries, or
                 affiliates (“Alphatec”) or any other Conflicting Organization as the term
                 is defined and used in Sections 2.4 and 6.3 of the Stryker Corporation
                 Confidentiality, Intellectual Property, Non-Competition and Non-
                 Solicitation Agreement for U.S. Employees Dated April 4, 2022
                 (“Noncompete Agreement”) among the Parties;

              C. Defendant is prohibited from disclosing, using, disseminating,
                 identifying by topic or subject, lecturing upon or publishing any
                 Confidential Information, as the term is defined and used in
                 Sections 2.2. and 5.1 of the Noncompete Agreement;

              D. Defendant is prohibited from directly or indirectly, soliciting or
                 influencing, or attempt to solicit, induce or influence, any person
                 engaged as an employee, independent contractor or agent of Stryker, as
                 the term is defined and used in the Noncompete Agreement, to terminate
                 his, her or its employment and/or business relationship with Stryker or
                 do any act which may result in the impairment of the relationship
                 between Stryker and its employees, independent contractors or agents;

              E. Defendant is ordered to deliver all Confidential Information, as the term
                 is used and defined in the Noncompete Agreement, in Defendant’s
                 possession to Plaintiffs including all such information stored
                 electronically;




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            F. Defendant is prohibited from having any ex parte communications,
               written or verbal, with any attorneys who represent Alphatec or any
               other defendants in the lawsuits in the United States District Court for
               the District of New Jersey titled Howmedica Osteonics Corp. v. Howard
               et al. (2:19-cv-19254) and Howmedica Osteonics Corp. v. Lewers et al.
               (2:20-cv-14310), and/or the lawsuit filed in the United States District
               Court for the Middle District of Florida titled Howmedica Osteonics
               Corp. v. Alphatec Spine, Inc. (3:21-cv-00789), or otherwise disclosing
               any privileged or strategic information related to Stryker Spine or its
               litigation strategies in those matters.

            G. Plaintiffs and Defendant are ordered to participate in expedited
               discovery during the period prior to the hearing on the Order to Show
               Cause, including depositions and subpoenas duces tecum; and

            H. Defendant shall appear before this Court on _________________, 2022,
               at ______, or as soon thereafter as counsel may be heard, and show
               cause, if any there be, why a preliminary injunction in the manner
               described above shall not issue.


      THIS ORDER DOES NOT RESOLVE THE LAST PENDING CLAIM AND DOES

NOT CLOSE THIS CASE.


                                         IT IS SO ORDERED.




                                         Hon.
                                                 Circuit Court Judge




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                                                 ATTACHMENT B
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                                                                and strategies of various cases.” Id. ¶ 11. She participated
                    2018 WL 1064536                             in all aspects of these breach of warranty cases, including
      Only the Westlaw citation is currently available.         depositions, id. ¶¶ 14, 23; drafting responses and objections
             United States District Court, E.D.                 in discovery, ¶¶ 15, 25; and settlement discussions, ¶¶ 17,
               Michigan, Southern Division.                     22. In April 2017, Bullock attended a training program
                                                                conducted by FCA’s inside and outside counsel, and signed a
                 FCA US LLC, Plaintiff,                         confidentiality agreement (the “Confidentiality Agreement”)
                          v.                                    regarding certain client confidential information learned
              Patrea BULLOCK, Defendant.                        about FCA. Id. ¶ 19; Def. Supp. Br. at 3 (Dkt. 29); see
                                                                also Confidentiality Agreement, Ex. A to Pl. Reply (Dkt.
                    Case No. 17-cv-13972                        17-2). Bullock was privy to “privileged, confidential, and/or
                              |                                 sensitive information.” Id. ¶ 15.
                     Signed 02/26/2018
                                                                Bullock stopped working for GOGG in October 2017 and
Attorneys and Law Firms                                         opened her own practice. Id. ¶ 30. She advertised herself as
                                                                an “expert lemon law attorney serving Northern California.”
Bethany G. Stawasz, John E. Berg, Anthony A. Agosta, Clark
                                                                See Website Print-out, Ex. B to Pl. Reply (Dkt. 17-3).
Hill, PLC, Detroit, MI, for Plaintiff.
                                                                Prior to leaving GOGG, Bullock apparently transferred data
Patrea R. Bullock, Roseville, CA, pro se.                       from her work computer to a USB device, including folders
                                                                labeled, “Cases,” “Helpful Info,” “Lemon Law Cases,”
                                                                “My Business,” and “Releases.” See Declaration of Michael
                                                                Bandemer ¶ 8f (Dkt. 24).
    OPINION & ORDER DENYING PLAINTIFF'S
         MOTION FOR A TEMPORARY
                                                                On November 20, 2017, Bullock filed a California lawsuit
         RESTRAINING ORDER (Dkt. 2)
                                                                against FCA, alleging breach of warranty on behalf of
MARK A. GOLDSMITH, United States District Judge                 an owner of an FCA-manufactured vehicle, Brown v.
                                                                FCA US LLC, No. 34-2017-00222086 (Super. Ct. of Cal.,
 *1 This matter is before the Court on Plaintiff FCA US         Sacramento). Id. ¶ 31. FCA then filed the instant complaint,
LLC’s (“FCA”) motion for a temporary restraining order          alleging claims for breach of contract, misappropriation of
(Dkt. 2). The motion has been fully briefed—including           trade secrets, violation of federal trade secret laws, breach
several supplemental filings from both parties—and a hearing    of fiduciary duty, and injunctive relief. Since then, Bullock
was held on January 5, 2018. For the reasons that follow, the   has filed at least two other breach of warranty lawsuits
Court denies the motion.                                        against FCA in California. See Pl. Supp. Br. (Dkt. 34) (noting
                                                                Arias v. FCA US, LLC, No. FCS050161 (Super Ct. of Cal.,
                                                                Fairfield)); Pl. Supp. Notice (Dkt. 37) (noting Lewis v. FCA
                                                                US LLC, No. CV-18-240 (Super. Ct. of Cal., Yolo)).
                    I. BACKGROUND

Defendant Patrea Bullock is an attorney who previously          FCA filed a motion for a temporary restraining order,
worked for two law firms in California, Universal &             requesting that the Court enjoin Bullock from filing breach
Shannon, LLP (“U&S”) (August 2016–May 2017) and Gates,          of warranty lawsuits against FCA, destroying any records or
O'Doherty, Gonter & Guy LLP (“GOGG”) (June 2017–                documents in her possession which were obtained from FCA
October 2017). Compl. ¶¶ 8, 20 (Dkt. 1). FCA was a client       which relate to breach of warranty cases, and divulging any of
of both U&S and GOGG, and during Bullock’s time at these        FCA’s confidential or proprietary information, among other
law firms, she worked on dozens of breach of warranty cases     requests. Pl. Mot. for TRO at 15-16 (Dkt. 2).
for FCA. Id. ¶¶ 9, 21. FCA alleges that she “personally
determined and advised FCA US about how to respond
regarding particular claims, evaluated the defenses available                          II. ANALYSIS
to FCA US, developed overall defense strategy, and engaged
in regular contact with FCA US regarding the defenses



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 *2 To determine whether to grant a preliminary injunction        However, it offers no more than conclusory allegations that,
or temporary restraining order, a district court must consider:   because these cases involved the same vehicles, Bullock
(i) whether the movant has a strong likelihood of success on      must be using confidential information in her current
the merits; (ii) whether the movant would suffer irreparable      representations. The complaints themselves consist largely
injury without the injunction; (iii) whether issuance of the      of boilerplate language and, at any rate, do not shed light
injunction would cause substantial harm to others; and (iv)       on what is truly at issue in each case. Without more, this
whether the public interest would be served by the issuance of    Court will not conclude at this stage that Bullock’s former and
the injunction. Baker v. Adams Cty./Ohio Valley Sch. Bd., 310     current representations are substantially related—particularly
F.3d 927, 928 (6th Cir. 2002). These four factors “are factors    where the California judges in each of these cases can make
to be balanced, not prerequisites that must be met.” Hamad v.     such a decision, based on full briefing and consideration of
Woodcrest Condo. Ass'n, 328 F.3d 224, 230 (6th Cir. 2003).        the record before them, if FCA were to bring a motion to
                                                                  disqualify.

   A. Likelihood of success on the merits                         Additionally, it must be stressed that FCA is requesting here
FCA argues that it has shown a strong likelihood of success       that Bullock be enjoined from “filing breach of warranty
on the merits, because Bullock has breached her fiduciary         lawsuits on behalf of plaintiff and against FCA US.” Pl.
duties, misappropriated FCA’s trade secrets, breached the         Mot. at 15. Although FCA claims that its own policies and
Confidentiality Agreement, or will do so in the future. Pl.       procedures apply to all of its breach of warranty claims and
Mot. at 10. Bullock contends that FCA has failed to show that     “do[ ] not vary from case-to-case,” Pl. Supp. Br. at 2-3, this
Bullock has learned any non-public information that could         does not mean that all breach of warranty cases embrace the
not be gained simply by working opposite FCA’s defense            same subject matter or are all substantially related. Given that
attorneys. Def. Resp. to Supp. Br. at 3-4 (Dkt. 33).              such cases can turn on multiple different issues, there is no
                                                                  basis for concluding that any breach of warranty action filed
The Court finds that FCA has not, at this stage, shown            by Bullock on behalf of a client is substantially related to
a strong likelihood of success on the merits. FCA claims          her former representation of FCA, so as to give rise to the
that Bullock has breached the fiduciary duties owed to            presumption of using client information.
FCA by representing the Browns and other plaintiffs. It is
true that the law presumes that where former and current           *3 Nor does FCA’s misappropriation of trade secrets claim
representations are substantially related, information learned    seem promising. FCA alleges that its “breach of warranty
from the client in the former representation will be used in      strategies and tactics” constitute trade secrets under federal
the later representation. See, e.g., In re Marks & Goergens,      and Michigan law. But a trade secret must not only be a
Inc., 199 B.R. 922, 925 (E.D. Mich. 1996) (if a substantial       “type[ ] of ... business ... information, including ... processes
relationship exists between an attorney’s former and present      [and] procedures,” it must be something that “derives
representations, “a presumption is created that the attorney      independent economic value ... from not being generally
will use information received from the former client in           known to, and not being readily ascertainable through proper
the ethical obligation to vigorously represent the present        means by, another person[.]” 18 U.S.C. § 1839(3); see also
client, thus violating the ethical obligations of loyalty and     Mich. Comp. Laws § 445.1902(d) (similar definition). Much
confidence”). However, this presumption only obtains where        of the information that FCA claims is confidential appears
the representations are substantially related.                    to be readily discernable by a plaintiff’s attorney who has
                                                                  opposed FCA in multiple litigations. An attorney working
FCA points out that Bullock represented FCA in at least two       in the field against FCA would learn easily how California
breach of warranty actions involving Dodge Darts, the vehicle     law advantages or disadvantages an auto company, what
at issue in Brown, Pl. Supp. Br. at 4-5 (Dkt. 29); Jeep Grand     difficulties FCA has experienced with certain expert issues,
Cherokees, the vehicle at issue in Arias, Pl. Supp. Br. at 1-2    or what its settlement strategy is.
(Dkt. 34); and at least six cases involving a Chrysler 200,
the vehicle at issue in Lewis, Pl. Supp. Notice at 1 (Dkt. 37).   FCA does not fare better with respect to its breach of
FCA has also provided the complaints from Bullock’s current       contract claim. The Confidentiality Agreement provides that
representations, and the complaints from cases that Bullock       “Confidential Information”—that is, “non-public documents
worked on while representing FCA.                                 and information disseminated [during the training program]



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that relate to the defense of FCA US”—“shall be used solely         fully compensable by money damages if the nature of the
for purposes of the defense of California warranty actions          plaintiff’s loss would make damages difficult to calculate.”).
against FCA US.” See Confidentiality Agreement. In its              However, FCA does have other adequate—and actually better
supplemental brief, FCA elaborates that the “confidential,          —remedies. FCA may move to disqualify Bullock in any
privileged, and trade secret information” consisted of mental       of the litigations pending in California. It may contact the
impressions of “plaintiff and FCA witnesses [and] experts,”         California bar and ask that it take action against Bullock. A
strategies for dealing with certain plaintiff firms, strategies     restraining order from this Court is not FCA’s only avenue of
on how it handles cases, why it settles certain cases, how it       relief. Thus, FCA can avoid much of the harm that it fears
responds to discovery, its own perceived vulnerabilities, and       through other means and avoid what it claims is irreparable
“pressure points Plaintiff firms exploit.” Pl. Supp. Br. at 4       harm.
(Dkt. 29). 1
                                                                     *4 Further, the issuance of temporary restraining order
1                                                                   would cause harm to others, i.e. to Bullock’s existing clients
        FCA also submitted an affidavit stating that FCA
                                                                    and any other individuals who may want to hire her to
        shared “its strengths and weakness as it relates
                                                                    represent them in cases against FCA. Those individuals have
        to California law; perceived problems with the
                                                                    a presumptive right to an attorney of their choosing, and if
        deposition testimony or availability of FCA US
                                                                    they believe that Bullock is the best representative for them,
        representatives in California warranty litigation
                                                                    they should be permitted to hire her.
        matters; discovery orders that FCA US would
        prefer to avoid complying with by settlement with
                                                                    Finally, the public interest would not be well served by the
        plaintiffs; and the strategies used by plaintiffs'
                                                                    issuance of a temporary restraining order. As stated above,
        attorneys that are most effective at driving FCA US
                                                                    the public in California has a right to choose their attorneys,
        to settlement.” Decl. of Kris Krueger, Ex. A to Pl.
                                                                    and prohibiting them from choosing Bullock in any breach of
        Supp. Br., ¶ 13 (Dkt. 29-2).
                                                                    warranty case against FCA, without regard to the similarities
However, there is no indication that Bullock has used any           between their individual case and whatever confidential
of this information presented at this training program for a        information Bullock may have, is not warranted. The public
purpose other than FCA’s defense and thereby breached the           would be better served by having the trial judges in California
Confidentiality Agreement. Nor has there been any showing           consider whether, in the context of the particular cases before
that she will necessarily use such information in the future.       them, Bullock has violated or likely will violate her ethical
To the extent an attorney is presumed to use confidential           obligations. The temporary restraining order requested by
information from a client in a subsequent representation,           FCA is far too broad. See Seto v. Thielen, No. 10-00351, 2010
the Court reiterates that this presumption applies only when        WL 2612603, at *2 (D. Haw. June 28, 2010) (denying motions
representations are substantially related. And, as previously       for TRO and preliminary injunction where “the requested
stated, much if not all of this information seems readily           injunction is simply overbroad” and “[t]he relief requested
available to any attorney who litigates against FCA.                simply does not fit the alleged violations.”).

                                                                    Accordingly, the balance of the four factors weighs against
   B. Irreparable injury, substantial harm to others, and           granting the temporary restraining order.
   public interest
FCA argues that it will suffer irreparable harm because
the damages flowing from “unfair competition” would
be difficult to compute, and because the disclosure of                                  III. CONCLUSION
confidential information can never be remedied. Pl. Mot. at
                                                                    For the reasons provided, Plaintiff FCA’s motion for a
13-14. It is true that, if Bullock does in fact have confidential
                                                                    temporary restraining order (Dkt. 2) is denied.
information from FCA that she subsequently uses against
it in litigation, damages flowing from such harm would be
                                                                    SO ORDERED.
difficult to quantify and would constitute irreparable harm.
See Basicomputer Corp. v. Scott, 973 F.2d 507, 511 (6th Cir.
1992) (“[A] plaintiff’s harm is not irreparable if it is fully
compensable by money damages. However, an injury is not


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                                                 ATTACHMENT C
  Case 1:22-cv-00531-JMB-SJB ECF No. 5-2, PageID.103 Filed 06/13/22 Page 32 of 50
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                                                                 1      The covenant was part of plaintiff's employment
                     2004 WL 1459450                                    contracts and also appeared on employee time slips.
                                                                        It provided:
UNPUBLISHED OPINION. CHECK COURT RULES                                  I AGREE AND UNDERSTAND THAT
BEFORE CITING.                                                          I      WILL       NOT        PERFORM         ANY
           Court of Appeals of Michigan.                                SERVICES FOR THE CLIENT DIRECTLY,
                                                                        OR INDIRECTLY, THROUGH ANOTHER
             A COMPLETE HOME CARE
                                                                        AGENCY, INDIVIDUAL, ENTITY OTHER
           AGENCY, INC., Plaintiff-Appellant,
                                                                        THAN “A COMPLETE HOME CARE”
                             v.                                         AGENCY, FOR A PERIOD OF SIX (6) MONTHS
       Theresa GUTIERREZ and Atrium Home and                            AFTER THE LAST DAY WORKED ON ANY
     Health Care Services, Inc., Defendants-Appellees.                  OF YOUR ASSIGNMENTS. [Opinion and Order,
                                                                        January 9, 2003, p 3.]
                         No. 246280.
                                                                        The covenant does not specifically limit the
                              |
                                                                        geographical area in which the employee's work is
                        June 29, 2004.
                                                                        restricted.
                                                                 Plaintiff brought the instant lawsuit against defendants
Before: MURPHY, P.J., and JANSEN and COOPER, JJ.                 alleging that Ms. Gutierrez breached the covenant not to
                                                                 compete and that Atrium interfered with its contractual
                                                                 relationship with Ms. Gutierrez. Plaintiff also contended that
                     [UNPUBLISHED]                               Atrium had interfered with its contractual relationship with
                                                                 its client, Mr. Boyagian. 2 The trial court granted defendants'
PER CURIAM.
                                                                 motion for summary disposition of all of plaintiff's claims.
 *1 Plaintiff A Complete Home Care Agency, Inc., appeals as      The trial court held that the covenant was too broad
of right the order granting defendants Theresa Gutierrez and     with regard to the type of employment restricted and
Atrium Home and Health Care Services, Inc.'s (“Atrium”),         was, therefore, unreasonable and invalid as a matter of
motion for summary disposition regarding plaintiff's claims      law pursuant to MCL 445.774a. Plaintiff also failed to
of breach of covenant not to compete and tortious interference   demonstrate wrongful conduct on the part of Atrium or
with contractual relations pursuant to MCR 2.116(C)(10). We      conduct that was malicious and unjustified at law to support
affirm.                                                          its claim of tortious interference.

                                                                 2      Plaintiff's president, Cynthia Pace, admitted in
                           I. Facts                                     deposition, however, that it did not have a contract
                                                                        with Mr. Boyagian. [Deposition of Cynthia Pace,
Ms. Gutierrez began working for plaintiff in September of               July 18, 2002, p 36.] The trial court found the
2000, and additionally began working for Atrium on a part-              issue abandoned as plaintiff failed to address it
time basis in July of 2001. As a condition of her employment            in response to defendants' motion for summary
with plaintiff, Ms. Gutierrez signed a covenant not to                  disposition. As plaintiff did not present evidence
compete. 1 Through her work for plaintiff, Ms. Gutierrez                that a contractual relationship existed between
provided nursing services in the home of Michael Boyagian.              plaintiff and Mr. Boyagian to counter Ms. Pace's
Mr. Boyagian required twenty-four hour nursing care, which              statement, the trial court properly dismissed this
was provided by employees of both plaintiff and Atrium. In              claim.
January of 2002, Ms. Gutierrez left the employ of plaintiff
to work for Atrium on a full-time basis in order to secure
                                                                                       II. Legal Analysis
health insurance. At that time, Ms. Gutierrez began providing
nursing services in Mr. Boyagian's home on a full-time basis     We review a trial court's determination regarding a motion
in her capacity as an Atrium employee.
                                                                 for summary disposition de novo. 3 A motion under



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MCR 2.116(C)(10) tests the factual support of a plaintiff's          *2 An employer may obtain from an employee an agreement
       4
claim. “In reviewing a motion for summary disposition               of covenant which protects an employer's reasonable
brought under MCR 2.116(C)(10), we consider the affidavits,         competitive business interests and expressly prohibits an
pleadings, depositions, admissions, or any other documentary        employee from engaging in employment or a line of business
evidence submitted in the light most favorable to the               after termination of employment if the agreement or covenant
nonmoving party to decide whether a genuine issue of                is reasonable as to its duration, geographical area, and the
                                                                    type of employment or line of business. To the extent any
material fact exists.” 5 “Summary disposition is appropriate
                                                                    such agreement or covenant is found to be unreasonable in
only if there are no genuine issues of material fact, and the
                                                                    any respect, a court may limit the agreement to render it
moving party is entitled to judgment as a matter of law.” 6         reasonable in light of the circumstances in which it was made
                                                                    and specifically enforce the agreement as limited. 9
3
        Beaudrie v. Henderson, 465 Mich. 124, 129; 631
        NW2d 308 (2001).                                            9       MCL 445.774a(1).
4
        Auto-Owners Ins Co v Allied Adjusters &                     The six-month duration of a covenant not to compete has been
        Appraisers, Inc, 238 Mich.App 394, 397; 605
                                                                    found to be a reasonable time period. 10
        NW2d 685 (1999).
5                                                                   10
        Singer v. American States Ins, 245 Mich.App 370,                    See Superior Consulting Co v. Walling, 851 F
        374; 631 NW2d 34 (2001).                                            Supp 839, 847 (ED Mich, 1994) (finding six-month
6                                                                           duration reasonable); Robert Half Internat'l, Inc v.
        MacDonald v. PKT, Inc, 464 Mich. 322, 332; 628                      Van Steenis, 784 F Supp 1263, 1274 (ED Mich,
        NW2d 33 (2001).                                                     1991) (finding one-year duration reasonable).
                                                                    We must determine, however, whether the covenant which
           A. Breach of Covenant Not to Compete                     restricts Ms. Gutierrez from performing “any services for the
                                                                    client,” is reasonable with regard to the type of employment
Plaintiff first argues that the trial court erred in finding that   or line of business restricted. Ms. Pace testified at her
the covenant not to compete was legally invalid. We disagree.       deposition that the purpose of the covenant is to prevent
Plaintiff's covenant is unreasonably broad, and therefore,          former employees from performing any service for a client
invalid pursuant to MCL 445.774a.                                   for six months after the termination of her employment,
                                                                    including such services as haircutting, dogwalking or grocery
Agreements not to compete in an employment situation                shopping. 11 Because the covenant restricts Ms. Gutierrez
                                                               7
are allowable in Michigan only if they are reasonable.              from doing any kind of work after her termination from
However, courts are circumspect when considering non-               plaintiff's employ, the trial court properly found that the
compete clauses in employment contracts. 8 MCL 445.774a             restriction is unreasonably broad, and therefore, invalid as a
provides:                                                           matter of law.

7                                                                   11
        MCL 445.774a; Thermatool Corp v. Borzym, 227                        Deposition of Cynthia Pace, July 18, 2002, pp
        Mich.App 366, 372; 575 NW2d 334 (1998).                             26-27.

8                                                                   Plaintiff contends that it would be reasonable, based on the
        See In re Spradlin, 274 BR 701, 708-709 (ED
                                                                    facts of the case, to read the covenant to restrict Ms. Gutierrez
        Mich, 2002), citing Woodward v. Cadillac Overall
                                                                    from performing any nursing services for six months after
        Supply Co, 396 Mich. 379, 392-393; 240 NW2d
                                                                    her termination from plaintiff. We note, however, that MCL
        710 (WILLIAMS, J, dissenting), Bryan v. Lincare,
                                                                    445.774a provides that the court “may limit the agreement
        Inc, 2000 U.S. Dist LEXIS 1109 (ED Mich, 2000)
                                                                    to render it reasonable in light of the circumstances in
        (reasoning that Michigan courts are more hostile to
                                                                    which it was made and specifically enforce the agreement as
        employer/employee non-compete agreements than
        those involved in the sale of a business).                  limited.” 12 The statute does not dictate that a court must limit
                                                                    the agreement. “In construing a statute, the words used by the



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Legislature must be given their common, ordinary meaning,”           17
                                                                            BPS Clinical Labs, supra at 698-699.
                                                               13
and we must apply these unambiguous terms as written.
                                                                      *3 Plaintiff failed to present evidence that Atrium
There is no indication in the statute that a trial court was
                                                                     committed an intentional act that was wrongful per se. Ms.
required to reform an unreasonable covenant to “render it
                                                                     Gutierrez testified at her deposition that she applied for work
reasonable,” and therefore, enforceable. Accordingly, the trial
                                                                     with Atrium, first to pick up additional hours, and then to
court did not err in failing to limit the covenant not to compete.
                                                                     gain health benefits. 18 Atrium did not solicit Ms. Gutierrez's
12                                                                   application nor take improper actions to interfere with her
        MCL 445.774a (emphasis added).
                                                                     contractual relationship with plaintiff. Accordingly, it was not
13                                                                   wrongful per se for Atrium to employ Ms. Gutierrez.
        Ligouri v. Wyandotte Hosp & Med Ctr, 253
        Mich.App 372, 376; 655 NW2d 592 (2002),
                                                                     18
        quoting Veenstra v. Washtenaw Country Club, 466                     Deposition of Theresa Gutierrez, May 15, 2002, pp
        Mich. 155, 159-160; 645 NW2d 643 (2002).                            12-14, 19-21.
                                                                     Plaintiff also failed to create a genuine issue of material fact
                                                                     that Atrium intentionally committed a lawful act with malice
      B. Tortious Interference with Contractual Relations
                                                                     or unjustified in law. Atrium's president, Lisa Mazur, admitted
Plaintiff also contends that the trial court erred in finding        in her deposition in a separate, but similar, lawsuit that she
that plaintiff failed to establish a prima facie case of tortious    assumed employees she hired who were already employed
interference with contractual relations. We again disagree.          in the health care field were bound by covenants not to
                                                                     compete, but that she hired them anyway. 19 Plaintiff also sent
To establish tortious interference with a business relationship      Atrium a letter in February of 2002, informing Atrium of Ms.
or contract, the plaintiff must prove that the interference          Gutierrez's covenant not to compete, but Atrium continued
was improper by showing that the defendant committed                 to employ Ms. Gutierrez. Even taking all of these allegations
an intentional act which lacked justification and purposely          as true, plaintiff has not established an improper motive or
interfered with the plaintiff's contractual rights or business       malice. There is no evidence that Atrium hired Ms. Gutierrez
relationship. 14 Improper interference can be established by:        for any reason other than the legitimate business reason of
“(1) the intentional doing of an act wrongful per se, or (2) the     obtaining a qualified employee. Furthermore, as we find the
intentional doing of a lawful act with malice and unjustified        covenant not to compete invalid as a matter of law, Atrium's
in law for the purpose of invading plaintiff's contractual           disregard of the covenant does not amount to malicious
                                                                     or unjustified conduct. Accordingly, the trial court properly
rights or business relationship.” 15 In order to prove that a
                                                                     granted defendants' motion for summary disposition on this
lawful act was done with malice and without justification,
                                                                     ground.
the plaintiff must demonstrate, with specificity, affirmative
acts by the defendant that corroborate the improper motive of
                                                                     19
the interference. 16 Actions motivated by legitimate business               Deposition of Lisa Mazur, January 30, 2002, pp
                                                                            21-22. This testimony was given at the same time
reasons do not constitute improper motive or interference. 17
                                                                            that Ms. Gutierrez began working for Atrium full-
                                                                            time.
14
        AOPP v. Auto Club Ins Ass'n, 257 Mich.App 365,
                                                                     Affirmed.
        383; 670 NW2d 569 (2003).
15
        Id.
16                                                                   JANSEN, J. (concurring in part and dissenting in part).
        CMI Internat'l, Inc v. Intermet Internat'l Corp,
        251 Mich.App 125, 131; 649 NW2d 808 (2002);                  JANSEN, J.
        BPS Clinical Labs v Blue Cross & Blue Shield of
        Michigan (On Remand), 217 Mich.App 687, 699;                 I respectfully dissent from Section II A of the majority
        552 NW2d 919 (1996).                                         opinion, as I would find that the trial court erred in finding
                                                                     that the covenant not to compete was legally invalid. I concur




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with the majority in all other respects and, thus, I would affirm   The restrictive covenant in question provides:
in part and reverse in part.

                                                                              I AGREE AND UNDERSTAND
On appeal, a trial court's decision on a motion for summary
                                                                              THAT I WILL NOT PERFORM
disposition is reviewed de novo. Dressel v. Ameribank, 468
                                                                              ANY SERVICES FOR THE CLIENT
Mich. 557, 561; 664 NW2d 151 (2003). Under MCR 2.116(C)
                                                                              DIRECTLY,   OR   INDIRECTLY,
(10), summary disposition is proper when “there is no genuine
                                                                              THROUGH ANOTHER AGENCY,
issue as to any material fact, and the moving party is entitled
                                                                              INDIVIDUAL,  ENTITY   OTHER
to judgment or partial judgment as a matter of law.” A genuine
                                                                              THAN “A COMPLETE HOME CARE”
issue of material fact exists when the record, giving the
                                                                              AGENCY, FOR A PERIOD OF SIX
benefit of reasonable doubt to the opposing party, leaves open
                                                                              (6) MONTHS AFTER THE LAST
an issue upon which reasonable minds could differ. Allstate
                                                                              DAY WORKED ON ANY OF YOUR
Ins Co v. State, 259 Mich.App 705, 709-710; 675 NW2d
                                                                              ASSIGNMENTS.
857 (2003). This Court also reviews questions involving
contract construction de novo. Old Kent Bank v. Sobczak, 243
Mich.App 57, 61; 620 NW2d 663 (2000).

                                                                    I agree with the majority, with regard to its finding that a six-
On review de novo, I would find that the convent not
                                                                    month duration is a reasonable time period and, thus, would
to compete, which was signed by defendant Gutierrez, is
                                                                    not support the trial court's grant of summary disposition. See
enforceable. Agreements not to compete are permissible
                                                                    Superior Consulting Co v. Walling, 851 F Supp 839, 847 (ED
in Michigan if they are reasonable. MCL 445.774a(1);
                                                                    Mich.1994). I would also find that the covenant is reasonable
Thermatool Corp v. Borzym, 227 Mich.App 366, 372; 575
                                                                    as to geographical area as it is limited to performance of
NW2d 334 (1998). Pursuant to MCL 445.774a(1):
                                                                    services for plaintiff's clients for which Gutierrez provided
                                                                    service. But I disagree with the majority's finding that the
           *4 An employer may obtain from                           restriction in the covenant is invalid as matter of law because
          an employee an agreement or covenant                      it is unreasonably broad.
          which protects an employer's reasonable
          competitive business interests and                        The restrictive covenant provides that Gutierrez will not
          expressly prohibits an employee from                      “perform any services for the client.” A restrictive covenant,
          engaging in employment or a line                          which does not allow an employee to perform services
          of business after termination of                          for a client with which that employee provided service
          employment if the agreement or covenant                   for on behalf of the employer he or she is leaving, for
          is reasonable as to its duration,                         a limited period of six months, is not unreasonable. This
          geographical area, and the type of                        is a reasonable restriction as to “type of employment or
          employment or line of business. To the                    line of business,” when read in context. A reading of the
          extent any such agreement or covenant is                  terms used in the covenant not to compete make it clear
          found to be unreasonable in any respect,                  that the agreement was intended to prohibit Gutierrez from
          a court may limit the agreement in order                  performing services for plaintiff's clients, for which she had
          to render it reasonable in light of the                   provided services for during her employment with plaintiff.
          circumstances in which it was made and                    It is apparent that the restriction is limited to the services
          specifically enforce the agreement as                     Gutierrez provided through her employment with plaintiff. A
          limited. [Emphasis added.]                                provision, which limits Gutierrez from performing services
                                                                    for six-months on clients that she serviced for plaintiff was
                                                                    reasonable as to line of work, narrowly restricting services
                                                                    to clients that Gutierrez serviced for plaintiff. This restriction
Michigan law requires that we narrowly construe restrictive         is reasonable in this field of work because Gutierrez and
covenants. United Rentals, Inc v. Keizer, 355 F3d 399, 408          other employees are put in a unique position where they
(CA 6 2004).                                                        develop personal relationships with the client. Without such
                                                                    restriction an employee could make a deal with the client


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and provide services independently from the employer who             In Kelsey-Hayes Co v. Maleki, 765 F Supp 402, 407, vacated
put her in contact with the client or, as is the present             pursuant to settlement 889 F Supp 1583 (ED Mich.1991), the
situation, could leave and go to another agency and take             court provided:
the client to another agency. Plaintiff offered evidence
supporting that when Gutierrez terminated her employment
                                                                               [A] legitimate business interest ....
with plaintiff she continued performing the same services
                                                                               must be something greater than mere
during the same shift for the client for defendant Atrium as
                                                                               competition, because a prohibition of all
she had on behalf of plaintiff. The provision did not restrict
                                                                               competition is in restraint of trade. To
Gutierrez from working in “any capacity for a competitor,”
                                                                               be reasonable, a covenant must protect
see Superior Consulting Co, supra at 847, but instead only
                                                                               against an employee gaining some
placed a restriction that if she did work for other agencies
                                                                               unfair advantage in competition with
or competitors she could not provide services for clients she
                                                                               his employer. Reasonable covenants may
worked for while employed by plaintiff for a limited period
                                                                               protect such legitimate interests as trade
of six months. 1                                                               secrets, confidential information, close
                                                                               contact with the employer's customers
1                                                                              or customer lists, or cost factors and
        Even assuming that the phrase “any service for
        the client” is too broad the covenant should have                      pricing. An employer may not reasonably
        merely been construed against plaintiff in favor of                    prohibit future use of general knowledge
        defendant such that “any service” was limited to the                   or skill.
        services Gutierrez provided to the client while she
        was employed by plaintiff. See United Rentals, Inc,
        supra, 355 F3d at 407, citing Higgins v. Lawrence,
        107 Mich.App 178, 309 NW2d 194, 196 (1981).                  Although, Kelsey-Hayes Co, supra has been vacated, the
 *5 Gutierrez was free to compete in the field, she was              rationale was adopted by the court in United Rentals, Inc
just restricted from performing services for the “client” she        v. Keizer, 202 F Supp 2d 727 (WD Mich.2002) affirmed
serviced on behalf of plaintiff. Surely, Michael Boyagian was        353 F3d 399 (2004) (“the employer's business interest
not the only individual in the area in need of home nursing          justifying such a restrictive covenant must be greater than
care. The restrictive covenant did not prohibit plaintiff from       mere competition.... In order to be reasonable, a restrictive
gaining full time employment with benefits. Gutierrez was            covenant must protect against the employee's gaining some
only restricted from performing services for clients she             unfair advantage in competition with his employer, but not
serviced on behalf of plaintiff; i.e., Boyagian.                     prohibit the employee's future use of general knowledge or
                                                                     skill”). The legitimate business interest in the present case
In addition, the covenant at issue protected plaintiff's             is clearly greater than mere competition as the personal
“reasonable competitive business interests.” MCL 445.774a.           relationship an employee develops with plaintiff's clients
The legitimate business interest is the retaining of clients and     creates an unfair advantage for employees in competition
goodwill. This is clearly a reasonable competitive business          with plaintiff. The covenant in question protected plaintiff
interest under the circumstances of this case. Plaintiff places      whose employees had close contact with clients and did not
employees in the homes of clients where a situation is created       prohibit future use of general knowledge or skill. Gutierrez
in which it is the employee who develops the relationship            was free to use her general knowledge and skills anywhere
with the client. If an employee leaves an employer and gains         and for anyone, except she was not allowed to provide service
employment with another home care provider or decides to             to clients she had serviced during her employment with
become an independent contractor it is a legitimate business         plaintiff for a reasonable period of six months. Thus, the
concern that the client will follow the employee with which          covenant not to compete included in Gutierrez's employment
the client has developed a relationship. Clearly, this is the type   contract did not prohibit use of general knowledge and skill
of behavior the restrictive covenant was intended to prohibit.       she had obtained by working for plaintiff. Therefore, the
                                                                     covenant not to compete that was included in the employment
                                                                     contract protected a reasonable competitive business interest
                                                                     of plaintiff for purposes of MCL 445.774a(1). 2



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                                                                      is reasonable for purposes of MCL 445.774a, and should
                                                                      have been enforced. I would reverse the trial court's grant
2
       In Tower Oil & Technology Co v. Buckley, 99 Ill                of summary disposition in favor of defendants with regard
       App 3d 637; 425 N.E.2d 1060, 1066-1067; 54 Ill                 to plaintiff's breach of the covenant not to compete claim.
       Dec 843 (1981) (quoted and cited favorably in In               I concur with the majority in all other respects and, thus, I
       re Talmage, 758 F.2d 162, 165-166 (CA 6 1985)),                would affirm in part and reverse in part.
       the appellate court for another state provided that
       the “protection of an established clientele from
       takeover by a former employee as a legitimate                  All Citations
       interest .... neither the existence or misuse of a trade
       secret is required to enforce a restrictive covenant.”         Not Reported in N.W.2d, 2004 WL 1459450, 2004-1 Trade
                                                                      Cases P 74,463
 *6 For the above reasons, I would find that the covenant
not to compete included in Gutierrez's employment contract

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                                                 ATTACHMENT D
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Actuator Specialties, Inc. v. Chinavare, Not Reported in N.W.2d (2011)
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                                                                   actuator parts, and assembling and selling kits of valve/
                                                                   actuator parts. An actuator is a mechanical and electrical
      KeyCite Yellow Flag - Negative Treatment                     device that opens and closes valves. As an actuator's parts
Distinguished by Delphi Automotive PLC v. Absmeier,   E.D.Mich.,
                                                                   wear out, they must either be replaced or repaired.
March 1, 2016


                    2011 WL 6004068                                Defendant was hired at ASI in January 2003, and before
       Only the Westlaw citation is currently available.           he resigned, he was the general manager. In fact, defendant
                                                                   was considered “in charge” when Randy was not present.
            UNPUBLISHED OPINION. CHECK                             In March 2007, to aid in the handling of after-hour calls,
            COURT RULES BEFORE CITING.                             defendant copied ASI files onto a USB drive he purchased.
                                                                   Defendant testified that when he returned home, he realized
                     UNPUBLISHED                                   his (old) computer did not have a USB port, and that he could
               Court of Appeals of Michigan.                       not transfer and use the data. Defendant said that as a result of
                                                                   being unable to use the USB drive, he simply stored the USB
    ACTUATOR SPECIALTIES, INC., Plaintiff–Appellee,
                                                                   drive in a closet.
                             v.
       William CHINAVARE, Defendant–Appellant,                     Later, on January 18, 2008, all three codefendants quit to
                            and                                    begin working for Phoenix Partners, LLC, which did business
     Christopher Baker and Patrick Emerson, Defendants.
                                                                   as Renew Valve and Cleveland Valve & Gauge. 2 After
                                                                   the codefendants left ASI, Wendy discovered that some
                      Docket No. 297915.
                                                                   confidential files defendant would have had no reason to
                              |
                                                                   access, had been recently accessed on the ASI computer
                        Dec. 1, 2011.
                                                                   previously assigned to defendant. ASI sought a Temporary
Monroe Circuit Court; LC No. 08–024921–CZ.                         Restraining Order (TRO) on February 12, 2008, and the
                                                                   requested order was issued on February 15, 2008. The
Before: CAVANAGH, P.J., and WILDER and OWENS, JJ.                  salient portions of the TRO required the following of the
                                                                   codefendants:
Opinion

PER CURIAM.                                                        2       Referred to hereafter as “Renew Valve.”

*1 Defendant, William Chinavare, appeals as of right
                                                                       A. They shall immediately deliver to [ASI] all originals
a permanent injunction that prohibited defendant 1 from                and all copies of documents and data acquired from ASI,
working for any competitor of plaintiff, Actuator Specialties,         whether in hard copy or stored in other media, referring
Inc. (ASI), for a period of three years, ending on December            or related to ASI's parts, kits, suppliers, customers, or
16, 2011. We affirm.                                                   financial matters;

1                                                                        [section B was crossed out]
        “Defendant” will refer solely to the appellant
        since the other codefendants are not involved on                 C. They shall not access or transmit any data to the
        appeal. In fact, codefendant Patrick Emerson was                 internal computer network of any person or entity whose
        voluntarily dismissed by ASI, and codefendant                    business offers goods or services competitive with ASI's,
        Scott Baker was dismissed via the trial court                    including but not limited to Renew Valve & Machine Co.
        granting summary disposition in Baker's favor.                   and/or Cleveland Valve & Gauge, or any computer in the
                                                                         possession or control of any person employed by them
                                                                         or affiliated with them;
                      I. BASIC FACTS
                                                                         D. They shall not disclose, orally, electronically or in
Randy Wright and Wendy Wright are the co-owners of ASI
                                                                         writing, any information to Renew Valve & Machine
and employ nine people. ASI is in the business of selling and
                                                                         Co. and/or Cleveland Valve & Gauge, or any person
repairing valve actuators, manufacturing and selling valve/


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    employed by them or affiliated with them, any                defendant was using a form that appeared to have been
    information the defendants acquired from ASI or derived      derived from ASI forms, in apparent violation of the TRO that
    from its documents or data, related to its parts, kits,      had been issued three days earlier. 3
    suppliers, customers, or financial matters;
                                                                 3
    [section E was crossed out]                                          Even though the revised order form sorted the data
                                                                         differently and had Renew Valve's name on the
    F. They shall not use, or disclose to anyone, information            letterhead, the form contained the same content as
    acquired during the course of their employment for ASI,              ASI's form, including the same typos.
    or derived from its documents and data, that they have
                                                                 A computer forensics company hired by ASI to conduct an
    retained in their memory related to ASI's parts, kits,
                                                                 analysis concluded that there were hundreds of ASI files on
    suppliers, customers, or financial matters;
                                                                 either defendant's USB drive or on Renew Valve's computers
     *2 [section G was crossed out]                              and that, in addition, a missing or unidentified USB drive 4
                                                                 had been inserted into defendant's ASI computer and later
    H. They shall preserve all notes and other records           inserted into four computers at Renew Valve. This device has
    and copies of all written and email communications           not been produced in the course of this litigation.
    among themselves referring or relating ASI's business,
    or referring or related to Renew Valve & Machine             4
    Co. and/or Cleveland Valve & Gauge, or any person                    It is unknown whether the unidentified “USB
    employed by them or affiliated with them, and all notes              drive” was an actual “thumb drive,” but regardless
    and other records and copies of all written and email                of its physical characteristics (such as being a
    communications with Renew Valve & Machine Co. and/                   thumb drive, SD card, or phone with a flash card),
    or Cleveland Valve & Gauge, or any person employed                   it was a flash-memory device.
    by them or affiliated with them which has been sent by       After the trial court granted the TRO, it held seven days
    or to any defendant;                                         of evidentiary hearings to determine whether a preliminary
                                                                 or permanent injunction should issue. At the conclusion of
    [section I was crossed out]                                  the hearings, the trial court issued a preliminary injunction
                                                                 enjoining defendant from working at Renew Valve, or any
    J. They shall preserve, and not destroy or delete any
                                                                 similar competitor of ASI, for a period of three years, ending
    documents or data which they have been ordered to
                                                                 on December 16, 2011. On March 10, 2010, defendant
    preserve or deliver to ASI by this order; and
                                                                 requested that the trial court either dismiss the preliminary
    K. They shall immediately deliver to ASI all parts, kits,    injunction or, in the alternative, convert it into a permanent
    gaskets, kit breakdown sheets, tools, logo apparel, logo     one, such that an appeal of right could be taken. The trial court
    gratuities, uniforms and other property that they acquired   determined that the reasons for the injunction were still valid
    from ASI or from a customer or supplier of ASI.              and converted the preliminary injunction into a permanent
                                                                 injunction, which kept the three-year prohibition of work.
   Notably, the TRO did not prohibit defendant from working
   for Renew Valve.
On February 13, 2008, one day after the TRO had been
                                                                                         II. ANALYSIS
sought, defendant uploaded the data contained on the USB
drive onto his Renew Valve computer. Defendant also               *3 A trial court's decision to grant an injunction is reviewed
changed the heading on an ASI order form he had copied to        for an abuse of discretion. Mich Coalition of State Employee
create a “Renew Valve” order form. Then on February 15,          Unions v. Mich. Civil Service Comm'n, 465 Mich. 212, 217;
2008, the date the TRO was issued, defendant faxed the newly     634 NW2d 692 (2001). A trial court abuses its discretion
created Renew Valve order form to a vendor. The vendor           when its decision falls outside the range of principled and
received the fax and sent a reply fax on February 18, 2008.      reasonable outcomes. Maldonado v. Ford Motor Co, 476
However, the vendor mistakenly sent the reply fax to ASI         Mich. 372, 388; 719 NW2d 809 (2006).
because that is the company where it associated defendant's
name. After ASI received the fax, Wendy recognized that



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Defendant argues that the trial court abused its discretion        ASI learned of defendant's use of an ASI electronic form and
when it enjoined defendant from working at Renew Valve for         confronted Renew Valve with the information.
a period of three years. We disagree.
                                                                   Defendant's behavior is similar to the behavior of the
At the outset, defendant does not contend that any of the trial    defendant in the Seventh Circuit case of PepsiCo, Inc v.
court's factual findings were erroneous or that an injunction      Redmond, 54 F3d 1262 (CA 7, 1995). 5 This Court previously
was not warranted. Instead, defendant only argues that a           summarized PepsiCo as follows:
single provision in the injunction, preventing him from
working at any competitor of ASI, was improper. We also            5
                                                                           The trial court relied upon PepsiCo in entering the
note that defendant's brief on appeal included an affidavit that
                                                                           permanent injunction in ASI's favor.
was not presented to the trial court. Because defendant did
not move to amend the record pursuant to MCR 7.216(A)
(4) and review is limited to the record presented to the trial         *4 In that case, the plaintiff sought a preliminary
court, we will not consider it. Mich AFSCME Council 25 v.             injunction against another company and its employee to
Woodhaven–Brownstown School Dist, ––– Mich.App ––––;                  prevent its employee, a former employee of plaintiff who
––– NW2d –––– (Docket No. 299945, issued May 3, 2011),                had signed a confidentiality agreement, from divulging
slip op, p 1.                                                         plaintiff's trade secrets and confidential information and
                                                                      from assuming specific duties. Id. at 1263, 1264. A
Michigan's Uniform Trade Secrets Act (MUTSA), MCL                     statute in Illinois that is similar to Michigan UTSA
445.1901 et seq ., authorizes the use of injunctive relief. MCL       “provides that a court may enjoin the ‘actual or threatened
445.1903 provides the following:                                      misappropriation’ of a trade secret.” Id. at 1267. The
                                                                      Seventh Circuit Court of Appeals explained that a “plaintiff
  (1) Actual or threatened misappropriation may be enjoined.          may prove a claim of trade secret misappropriation
  Upon application to the court of competent jurisdiction, an         by demonstrating that defendant's new employment will
  injunction shall be terminated when the trade secret has            inevitably lead him to rely on the plaintiff's trade secrets.”
  ceased to exist, but the injunction may be continued for an         Id. at 1269. The Seventh Circuit Court of Appeals affirmed
  additional reasonable period of time in order to eliminate          the district court's grant of a preliminary injunction, finding
  commercial advantage that otherwise would be derived                that the plaintiff established a sufficient likelihood of
  from the misappropriation.                                          success despite the lack of evidence that the defendant
                                                                      had used or planned to use any trade secrets. Id. at 1271.
***                                                                   However, the employee in PepsiCo demonstrated a lack
                                                                      of trustworthiness beyond his decision to work for a
  (3) In appropriate circumstances, affirmative acts to protect       competitor. Id. at 1270. [CMI Int'l, 251 Mich.App at 133
  a trade secret may be compelled by court order.                     (footnote omitted).]
                                                                   In PepsiCo, the “lack of trustworthiness” was evidenced by
For a party to obtain an injunction under the premise of
                                                                   the former employee accepting a position with a competitor,
“threatened misappropriation” of trade secrets, “the party
                                                                   while still employed at PepsiCo, and lying to PepsiCo and
must establish more than the existence of generalized trade
                                                                   his colleagues about it. PepsiCo, 54 F3d at 1264. The district
secrets and a competitor's employment of the party's former
                                                                   court explained:
employee who has knowledge of trade secrets.” CMI Int'l, Inc
v. Intermet Int'l Corp, 251 Mich.App 125, 134; 649 NW2d
808 (2002). Here, ASI did just that. ASI showed that not only
did defendant possess confidential ASI data, defendant also                     Redmond's lack of forthrightness on
downloaded that data onto Renew Valve's computer system                         some occasions, and out and out
and utilized that data for the benefit of Renew Valve. In                       lies on others, in the period between
addition, despite the knowledge of the entry of a TRO that                      the time he accepted the position
specifically compelled defendant to turn over such data to                      with [PepsiCo's competitor] and when
ASI, defendant failed to do so. Significantly, defendant did                    he informed plaintiff that he had
not admit to having an ASI USB drive or return it to ASI until                  accepted that position leads the court
                                                                                to conclude that defendant Redmond



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             could not be trusted to act with the                   of a PowerPoint presentation created by ASI as its own. The
             necessary sensitivity and good faith                   trial court could properly infer that Renew Valve's willingness
             under the circumstances in which the                   to use ASI materials that it does not own or have permission
             only practical verification that he was                to use indicates Renew Valve's willingness to misappropriate
             not using plaintiff's secrets would be                 trade secret information.
             defendant Redmond's word to that
             effect. [Id. at 1270.]                                 We conclude on this record therefore, that the trial court did
                                                                    not abuse its discretion in finding that ASI had established
                                                                    a willingness to use and/or disseminate trade-secret data,
The district court also pointed out that the potential new          such that entry of an injunction to prevent any threatened
employer seemed to express an “unnatural interest” in hiring        misappropriation of trade secrets was warranted. MCL
PepsiCo employees. Id. at 1271. The district court determined       445.1903(1).
that this showed a willingness on part of the new employer to
seek out and use PepsiCo's trade secret information. Id.            Defendant next claims that the three year prohibition of
                                                                    working for a competitor is unprecedented. While there are
Here, defendant's conduct raises the same warning flags             no cases directly on point, the Michigan Supreme Court did
regarding his willingness to use trade-secret information.          imply that temporary work restrictions are valid. In Hayes–
First, Wendy testified that within the three days before            Albion v. Kuberski, 421 Mich. 170, 188–189; 364 NW2d 609
defendant's resignation, someone used defendant's computer          (1984), the Court found that a perpetual ban on the defendant
to access many confidential computer files that defendant           from working in a particular industry was improper and “too
would not have had a reason to access during that time.             restrictive because it prohibits defendants from competing
Second, despite knowing that a TRO was being sought                 with plaintiff even if plaintiff's trade secrets become common
and thereafter was issued, defendant claims that he failed          knowledge.” Id. at 189. Thus, Hayes–Albion stands for the
to recognize or did not “think” that the USB drive that             proposition that an employment ban that “fail[s] to strike the
he copied the ASI files onto was covered under the TRO.             proper balance,” Id. at 188, is improper. Here, because the
This explanation rings hollow in the face of the incredible         period of the injunction was limited to three years and was
coincidence that defendant brought the USB drive into work          not permanent, the trial court's order does not run afoul of the
and copied the ASI files to the Renew Valve computer one            concerns raised in Hayes–Albion.
day after the TRO was sought, two days before the TRO
was issued. Third, defendant altered one of the ASI files by        MCL 445.1903(1) allows for injunctive relief to last “for an
replacing the ASI letterhead with his new employer's name,          additional reasonable period of time in order to eliminate
“Renew Valve,” showing a willingness to use information             commercial advantage that otherwise would be derived from
surreptitiously taken from ASI. Further, in addition to the         the misappropriation.” This “reasonableness” standard is
fact that 462 ASI files were found on either defendant's USB        similar to how courts enforce covenants not to compete.
drive or on Renew Valve's computers, the evidence showed            Such covenants must also be “reasonable” in light of the
that only some of the files downloaded to a second, missing         surrounding circumstances. Coates v. Bastian Bros, Inc, 276
or unidentified, USB device from defendant's ASI computer,          Mich.App 498, 506; 741 NW2d 539 (2007).
and later inserted into four computers at Renew Valve, were
downloaded onto the Renew Valve computers. Because this             Here, ASI presented evidence that defendant had a
second device is still unaccounted for, and its content is          willingness to access and/or use confidential information that
unknown, the trial court did not err in finding a lack of           was taken from ASI and that there was still an unaccounted
trustworthiness on defendant's behalf.                              USB storage device. Thus, the potential harm to ASI was
                                                                    severe if defendant was allowed to continue to work for
 *5 Finally, similar to PepsiCo's competitor, the evidence          Renew Valve. On the other hand, the potential harm to
showed that there was questionable behavior by Renew Valve          defendant was minimal. Defendant testified that he had
to add support to a finding of lack of trustworthiness sufficient   “plenty of places” he could have worked instead of Renew
to support the employment prohibition ordered by the trial          Valve and could have made nearly the same $95,000 salary.
court. In addition to hiring the three codefendants away from       Additionally, ASI presented evidence that its data took over
ASI at the same time, Renew Valve used refreshed portions           ten years to compile. Thus, the fact that the trial court



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                                                                     when considering all of the circumstances as a whole. As a
only imposed a three-year restriction makes the limitation
                                                                     result, defendant cannot show how the trial court abused its
facially reasonable with respect to its duration. See MCL
                                                                     discretion when it fashioned this relief to ASI, and defendant's
445.1903(1); Televation Telecomm Sys, Inc v.. Saindon, 522
                                                                     claim fails. Plaintiff, being the prevailing party, may tax costs
NW2d 1359, 1366 (Ill App, 1988) (injunctions should not
                                                                     pursuant to MCR 7.219.
last longer than the time required to duplicate the product by
lawful means).
                                                                     Affirmed.
 *6 In sum, because ASI established a threat of
misappropriation, the MUTSA permitted the trial court to             All Citations
enjoin defendant from working for a competitor of ASI.
And furthermore, the three-year limitation was reasonable            Not Reported in N.W.2d, 2011 WL 6004068

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                                                 ATTACHMENT E
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       Only the Westlaw citation is currently available.

            UNPUBLISHED OPINION. CHECK                      Kent Circuit Court; LC No. 09–000170–CZ.
            COURT RULES BEFORE CITING.
                                                            Before: O'CONNELL, P.J., and SERVITTO and SHAPIRO,
                     UNPUBLISHED                            JJ.
               Court of Appeals of Michigan.
                                                            Opinion
      SPARTAN GRAPHICS, INC., Plaintiff–Appellant,
                                                            PER CURIAM.
                         v.
           ENTERMARKET CORPORATION,                          *1 This litigation arises from claims of trade secret
                 Defendant–Appellee,                        misappropriation. Plaintiff appeals by leave granted the
                        and                                 trial court's April 15, 2009 interlocutory order granting
              George Schmutz, Defendant.                    defendant EnterMarket Corporation's motion for partial
                                                            summary disposition and dismissing plaintiff's claims against
                      Docket No. 292235.                    EnterMarket for misappropriation of trade secrets (Count II),
                              |                             tortious interference with a contract (Count III), and tortious
                        Nov. 16, 2010.                      interference with an advantageous business relationship
                                                            (Count IV) on the grounds that they were barred by a prior
                                                            release. We affirm the trial court's dismissal of Count III, but
 West KeySummary
                                                            reverse and remand as to Counts II and IV.

 1       Compromise, Settlement, and
         Release    Antitrust, trade regulation, fraud,                          I. BACKGROUND
         and consumer protection
         89 Compromise, Settlement, and Release             Plaintiff, a Michigan corporation, designs, produces, and
         89III Construction, Operation, and Effect          sells specialty printed materials, including graphic decals,
         89III(B) Matters Included or Affected              stickers, signs, posters, appliqués, and other recognition
         89k413 Particular Subjects, Claims, and Disputes   products to distributors, retainers, and end users. In the late
         89k420 Antitrust, trade regulation, fraud, and     1990s, Goodren Product Services Corporation, a New Jersey
         consumer protection                                corporation that sells design and manufacturing services, but
              (Formerly 331k33 Release)                     subcontracts the actual design and manufacturing to vendors,
         Language in the release agreement executed by      began using both plaintiff and Continental Identification
         a design corporation, print broker, and product    Products, Inc (CIP) as print vendors.
         services corporation, settling claims between
         them, did not preclude the design corporation's    In 2000, as a result of a bankruptcy of one of Goodren's
         misappropriation of trade secrets claim against    principal customers, Goodren was unable to pay plaintiff
         the print broker. A former employee of the         and CIP for products it had purchased from both and sold
         design corporation began working for the print     to the now bankrupt customer. Goodren owed plaintiff and
         broker before the release was signed, and          Continental a combined debt of approximately $366,515.
         thus, could have misappropriated trade secrets.    Although Goodren, plaintiff, and CIP entered into an
         Moreover, an exception was inserted into the       agreement for repayment of the debt, which was subsequently
         release agreement, designed to retain an action    revised, Goodren ceased doing business in 2005, leaving the
         against the former employee, because the design    debt largely unpaid. On January 1, 2006, EnterMarket, a
         corporation knew at the time the release was       New York corporation and print broker, hired Jeffrey Kahn,
         executed that former employee was violating his    Goodren's principal, to be its vice president. EnterMarket
         non-competition agreement.



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used plaintiff and CIP as one of its print vendors in 2005 and               obligations, warranties, demands and
2006.                                                                        costs of any kind or nature whatsoever,
                                                                             known or unknown, accrued or
On February 16, 2007, plaintiff and CIP filed suit against                   unaccrued, that were, could have
Goodren and EnterMarket in Kent Circuit Court. Goodren                       been, or might have been asserted
and EnterMarket had the suit removed to the United States                    by the Plaintiffs in the Lawsuit or
District Court for the Western District of Michigan. Plaintiff               in any forum in connection with,
and CIP alleged that Goodren had merged with EnterMarket,                    arising out of, related to, based
with EnterMarket agreeing to assume the Goodren debt. As                     upon, in whole or in part, directly
a result of facilitated mediation in April 2008, the parties                 or indirectly: (a) any allegation,
agreed to settle the suit for payment by EnterMarket of                      transaction, fact, matter, circumstance,
$84,500. The parties memorialized the terms in a document                    occurrence, representation, action,
captioned “Settlement Agreement and Mutual Release” (the                     omission or failure to act that was
settlement agreement) which was signed by EnterMarket's                      alleged, involved, set forth, referred
representative on May 6, 2008, and plaintiff's representative                to or could have been alleged in
on May 20, 2008.                                                             the Lawsuit; or (b) any business
                                                                             transaction, business relationship, or
The last paragraph of the “Recitals” portion of the settlement               business dealings between Plaintiffs
agreement provides:                                                          and the Defendants though [sic]
                                                                             the date of the execution of
                                                                             this Agreement. Notwithstanding the
            R. The Parties wish to fully and                                 above, by entering into this Settlement
            completely resolve any and all claims                            Agreement and Release, Plaintiffs do
            which have been brought or which                                 not release or waive any claims they
            could have been brought in the                                   may have against George Schmutz
            Lawsuit or in connection with the                                or any other former employee of
            business relationships between the                               Plaintiffs.
            parties.


                                                                 On January 7, 2009, plaintiff initiated the instant litigation
The actual terms of the settlement agreement follow the          against EnterMarket and George Schmutz in Kent Circuit
recitals and contain, among other things, the releases made by   Court. Plaintiff alleged that it employed Schmutz for
the parties. Paragraph 2 provides:                               more than 18 years as its operations manager in its
                                                                 sales department and that Schmutz had continuous, direct
                                                                 contact with plaintiff's current and potential customers,
             *2 Release by Plaintiffs: Plaintiffs,               had access to all of plaintiff's pricing information and
            for themselves, their officers,                      sales strategies, and had access to plaintiff's confidential
            directors, owners, employees, parents,               and proprietary information relating to customers, customer
            subsidiaries, affiliate companies,                   prospects, customer contacts, business plans, sales strategies,
            sureties, successors and assigns,                    and pricing information. Plaintiff further alleged that, as a
            hereby release and forever discharge                 condition of his employment, Schmutz entered into a non-
            Defendants and their parents,                        competition agreement with plaintiff.
            subsidiaries, affiliate companies,
            and      all    of    their    respective            According to plaintiff, Schmutz resigned from his position
            officers,      directors,     employees,             with plaintiff in June 19, 2006. Plaintiff alleged that it
            agents, attorneys, sureties, insurance               learned in March 2008 that EnterMarket, a direct competitor
            companies, successors and assigns,                   of plaintiff in the business of commercial printing and
            from any and all claims, liens, claims               fulfillment services, had hired Schmutz. Plaintiff also alleged
            of lien, actions, causes of action, debts,           that it learned in September 2008 that Schmutz was actively


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soliciting business from customers he had serviced while
employed by plaintiff, using his knowledge of plaintiff's           The Court, however, looks at the language of the entire
confidential and proprietary information and his contacts           document, the release agreement. In it, the plaintiffs agree
with, and knowledge relating to, plaintiff's customers to           to release any claims for “demands and costs of any kind
solicit millions of dollars in sales from plaintiff's customers     or nature whatsoever, known or unknown, accrued or
for EnterMarket.                                                    unaccrued, that were, could have been, or might have been
                                                                    asserted by the plaintiffs in the lawsuit or in any forum in
Plaintiff's complaint alleged three counts against                  connection with, arising out of, related to, based upon, in
EnterMarket: Count II for misappropriation of trade secrets,        whole or in part, directly or indirectly.”
Count III for tortious interference with a contract by
                                                                    The Court draws its attention to the “arising out of, related
employing Schmutz in violation of the non-competition
                                                                    to,” and related in while—“related to, in whole or in part,
agreement, despite knowledge of its existence, and Count
                                                                    directly or indirectly” language, very, very broad language,
IV, tortious interference with an advantageous business
                                                                    “of any allegation, transaction, fact, matter, circumstances,
relationship. EnterMarket moved for summary disposition
                                                                    occurrence, representation, action, omission, or failure that
under MCR 2.116(C)(7), asserting that plaintiff's claims
                                                                    was alleged, involved, set forth, referred to, or could have
against it were barred by the settlement agreement, and
                                                                    been alleged in the lawsuit.”
alternatively under MCR 2.116(C)(8), asserting that plaintiff
had failed to state a claim upon which relief could be granted.     That required the Court to turn back the hands of time to
EnterMarket attached interrogatory answers from the federal         May 20, 2008. May 20, 2008, there was knowledge that
lawsuit which disclosed that Schmutz began serving as a             Mr. Schmutz was working for the competitor, and there
consultant to EnterMarket in late 2006, and was hired by            was apparently a belief that there w[ere] violations of trade
EnterMarket on January 1, 2007 to be its president.                 secrets going on. That's related to. That's arising out of.
                                                                    That's direct and indirect.
 *3 The trial court held a hearing on the motion on April
2, 2009 and granted the motion as to Counts II, III and IV,       ***
holding:
                                                                  What's the intent of the parties? It's evidence by the specific
  The Court notes, parenthetically, that without question
                                                                  language, but—that I've already referenced, but it's also
  Count 3 and Count 4 are covered by the release by
                                                                  evidence by the specific language as pointed out by Counsel
  the plaintiffs. There's no question in the Court's mind.
                                                                  Holaday in Subparagraph 4 of the—or Subparagraph R ...
  Clearly, they deal with the relationship between the parties
                                                                  where “the parties wish to fully and completely resolve any
  predating May 20th, 2008, and there's no—any potential
                                                                  and all claims which have been brought or which would have
  cause of action was known on signing of the settlement
                                                                  been brought in the lawsuit or in connection with the business
  release agreement. It was a release of all claims as of
                                                                  relationships between the parties.” It appears that it was a
  the date of the execution of the agreement pursuant to
                                                                  desire to have a permanent, lasting, effective divorce between
  Subparagraph (b) of the Paragraph 2 of the agreement,
                                                                  the parties who were litigants against—a commercial divorce
  and therefore Counts 3 and 4, which allege claims that
                                                                  to avoid further litigation.
  arise under June 19, 2006 actions of Co–Defendant George
  Schmutz, clearly are barred by the settlement release
  agreement under MCR 2.116(C)(7).
                                                                                *4 I'm satisfied that the release
  The more difficult analysis is—relates to Count 2. In Count                  encompasses that which is alleged in
  2, this is the tortious interference, and the comments of Mr.                Counts 2, 3, and 4.
  Dougherty are very thoughtful and well-presented ... that
  his position being, as I understand it, that because of the
  date of the execution of the agreement limiting language        Plaintiff immediately sought clarification regarding whether
  of Subparagraph 2(b), there could not be continued—there        the trial court's ruling included tortious interference activity
  could not be a bar to the claims in Count 2 after May 20th,     committed by EnterMarket after May 20, 2008. The trial court
  2008.                                                           answered affirmatively, “because it is the Court's belief that
                                                                  based on the complaint as filed, ... you were aware of this


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tortious conduct going forward at the time on May 20 by                an ambiguity.” Cole, 241 Mich.App. at 14, 614 N.W.2d 169.
virtue of the employment and his position and participation            Rather, a release is ambiguous only when its language is
in this industry.”                                                     reasonably susceptible to more than one interpretation. Id. at
                                                                       13, 614 N.W.2d 169.
Plaintiff moved for reconsideration under MCR 2.119(F),
arguing that although it knew by May 28, 2008 1 that                   The trial court granted summary disposition pursuant to MCR
EnterMarket employed Schmutz, it had no knowledge of                   2.116(C)(7). Summary disposition under MCR 2.116(C)(7)
any misappropriation or use of its trade secrets at that time,         is appropriate where a claim is barred by a release. Cole,
and that it did not learn that EnterMarket and Schmutz                 241 Mich.App. at 13, 614 N.W.2d 169. A party may support
had misappropriated its trade secrets until September 2008.            or oppose a motion under MCR 2.116(C)(7) with affidavits,
Thus, plaintiff argued, it could not have included its                 depositions, admissions, or other documentary evidence, but
misappropriation claims in the federal action, such that the           the substance or content must be admissible evidence. By
language in the settlement agreement did not bar the claim.            Lo Oil Co v. Dep't of Treasury, i267 Mich.App 19, 26; 267
The trial court denied the motion as untimely, but further             Mich.App. 19, 703 N.W.2d 822 (2005). “The allegations
held that even if the motion had been timely, it would still           of the complaint are accepted as true unless contradicted
have denied the motion because of the broad language of the            by documentary submissions.” Id. Summary disposition is
release.                                                               properly granted under (C)(7) if the undisputed facts establish
                                                                       that the claim has been released. See id.
1       Plaintiff refers throughout its brief to the “May
                                                                        *5 The trial court, relying on plaintiff's complaint,
        28, 2008 release.” However, the record indicates
                                                                       concluded that Counts II, III and IV of plaintiff's complaint
        that plaintiff's representative signed the settlement
                                                                       against EnterMarket were barred by the release because those
        agreement on May 20, 2008, and the trial court
                                                                       claims “could have been” advanced by plaintiff in the federal
        relied on plaintiff's knowledge as of May 20, 2008.
                                                                       lawsuit by amendment because plaintiff knew by March
        Accordingly, the pertinent date is May 20, 2008,
                                                                       2008 that Schmutz was employed by EnterMarket. Plaintiff's
        not May 28, 2008.
                                                                       complaint provides:
Plaintiff filed an application for leave to appeal the trial court's
grant of summary disposition, which this Court granted.
Spartan Graphics, Inc v. EnterMarket Corp, unpublished                             On or about March 2008, Spartan
order of the Court of Appeals, entered December 1, 2009                            learned that Schmutz has gone to work
(Docket No. 292235).                                                               for EnterMarket, a direct competitor of
                                                                                   Spartan. On or about September 2009,
                                                                                   Spartan learned that Schmutz was
                II. SUMMARY DISPOSITION                                            actively soliciting Spartan employees
                                                                                   and business form customers whom
Plaintiff alleges that the trial court erroneously granted                         he had serviced while employed by
summary disposition. We review de novo both a trial court's                        Spartan.
decision to grant summary disposition, Michigan Federation
of Teachers v. Univ. of Michigan, 481 Mich. 657, 664, 753
N.W.2d 28 (2008), and the interpretation of the terms of               As previously noted, we must accept these allegations as
a release. Cole v. Ladbroke Racing Michigan, Inc., 241                 true because they were not contradicted by any documentary
Mich.App. 1, 13, 614 N.W.2d 169 (2000).                                evidence. By Lo Oil Co., 267 Mich.App. at 26, 703 N.W.2d
                                                                       822.
“[T]he scope of a release is governed by the intent of the
parties as expressed in the release.” Collucci v. Eklund, 240          Looking first at Count III, plaintiff alleged that EnterMarket
Mich.App. 654, 658, 613 N.W.2d 402 (2000). Where the text              tortiously interfered with a contract by employing Schmutz
is unambiguous, the parties' intentions are ascertained from           in violation of the non-competition agreement, despite
the plain language of the release. Id. “The fact that the parties      EnterMarket's knowledge of the agreement. However,
dispute the meaning of a release does not, in itself, establish        because plaintiff's complaint concedes that it was aware


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in March 2008 that EnterMarket had hired Schmutz, any              Schmutz engaged in the unauthorized use of plaintiff's trade
violation of the non-competition agreement occurred prior          secrets, let alone that he did so before May 20, 2008. Thus,
to the May 20, 2008 execution of the settlement agreement.         there is no evidence in the record to support the conclusion
Accordingly, the trial court properly concluded that Count III     that Schmutz engaged in misappropriation of trade secrets
was barred by plaintiff's release.                                 prior to the execution of the settlement agreement, such that
                                                                   plaintiff could have amended the federal lawsuit to allege
However, looking at Counts II and IV, which involve the            Counts II and IV. Further, although not evidence, plaintiff's
misappropriation of trade secrets and tortious interference        counsel's represented to the trial court that plaintiff believes
with business relationships with plaintiff's clients based         “most of [the trade secret misappropriation] has occurred
on that misappropriation, we conclude that, because there          within the last nine months or so,” which would mean it
was no evidence to support a finding that EnterMarket              began in August 2008, well after the settlement agreement
was misappropriating plaintiff's trade secrets prior to May        was signed.
20, 2008, the trial court granted summary disposition
prematurely. The fact that Schmutz began working for               At oral argument, the parties disputed the application of the
EnterMarket before May 20, 2008 does not permit the                release language related to “known or unknown” claims.
reasonable inference that he also engaged in the alleged           EnterMarket argued that when plaintiff became aware of
unauthorized use of plaintiff's trade secrets before May 20,       the misappropriation of trade secrets was irrelevant because
2008. Although EnterMarket had hired Schmutz well before           the release used broad language that released all claims
the release was signed, which placed him in a position             “known or unknown.” However, we agree with plaintiff
where he could have misappropriates trade secrets during the       that EnterMarket's interpretation is overly broad in light of
pendency of the federal lawsuit, it does not logically follow      the explicit limitations contained in the release paragraph.
that he actually was so engaged. Such a conclusion is mere         EnterMarket focuses on the beginning language of the release
speculation without any factual or evidentiary support.            which provides, a release of “any and all claims ... actions,
                                                                   causes of action ... of any kind or nature whatsoever, known or
Defendant argues that plaintiff's carving out an exception         unknown, accrued or unaccrued, that were, could have been,
to the release to be able to sue Schmutz was evidence that         or might have been asserted by the Plaintiffs in the Lawsuit or
plaintiff was aware of his unlawful actions. We disagree.          in any forum.” However, it ignores that this broad language
Plaintiff knew at the time the release was executed that           is limited by the next phrase which limits that broad release
Schmutz was violating his non-competition agreement. Thus,         to claims:
the exception contained in the release can be explained by
plaintiff's wish to retain an action against Schmutz for that
violation; it does not require that plaintiff was aware of                      arising out of, related to, based
misappropriation of trade secrets or solicitation of plaintiff's                upon, in whole or in part, directly
clients. Indeed, the record indicates that the trial court was                  or indirectly: (a) any allegation,
aware of this problem. When EnterMarket's counsel initially                     transaction, fact, matter, circumstance,
tried to argue that plaintiff knew about the misappropriation                   occurrence, representation, action,
in May 2008, the trial court indicated that simply because                      omission or failure to act that was
Schmutz had the knowledge at the time he was hired did not                      alleged, involved, set forth, referred
mean that he was using it: “But what if he's not using it at                    to or could have been alleged in
that point, or what if he's not using it in such a way that it's                the Lawsuit; or (b) any business
demonstrably harming the former employee?”                                      transaction, business relationship, or
                                                                                business dealings between Plaintiffs
 *6 According to the record, plaintiff has not alleged a                        and the Defendants though [sic]
specific date when Schmutz allegedly began the unauthorized                     the date of the execution of this
use of plaintiff's trade secret. Rather, its complaint                          Agreement.
simply indicates that plaintiff only became aware of the
misappropriation in September 2008, more than three months
after plaintiff's execution of the settlement agreement. The
                                                                   Thus, whatever claims, known or unknown, that could have
evidence supplied by EnterMarket does not demonstrate that
                                                                   been brought in the Lawsuit or in any other forum were


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                                                                     Counts II and IV and remand for discovery and additional
required to arise from or relate to something that “could have
                                                                     proceedings not inconsistent with this opinion. We do not
been alleged in the Lawsuit” under subsection (a). The “or in
                                                                     retain jurisdiction. No costs, neither party having prevailed in
any forum” language is not made nugatory, as it is necessary
                                                                     full. MCR 7.219.
for subsection (b) which includes no limitations on being
brought in the Lawsuit. Thus, while plaintiff's interpretation
gives reasonable meaning to each aspect of the release,
EnterMarket's broad interpretation would have us ignore all          O'CONNELL, J., (concurring in part and dissenting in part).
of the subsequent language contained in the release after “in        I concur with the majority's decision to affirm the
any forum.” We cannot accept an interpretation that renders          dismissal of Count III. I disagree, however, with the
release language nugatory. See Klapp v. United Ins. Group            majority's resuscitation of Counts II and IV. Because plaintiff
Agency, Inc., 468 Mich. 459, 468, 663 N.W.2d 447 (2003)              relinquished any right to pursue those claims, I would affirm
(“[C]ourts must also give effect to every word, phrase, and          the trial court's dismissal of all three counts.
clause in a contract and avoid an interpretation that would
render any part of the contract surplusage or nugatory.”).           As this Court has repeatedly explained, “[a]n agreement
Thus, when plaintiff became aware of the trade secret                to settle a pending lawsuit is a contract, governed by the
misappropriation is relevant and the “known or unknown”              legal rules applicable to the construction and interpretation
release language does not automatically preclude the claim.          of other contracts .” Reicher v. SET Enterprises, Inc., 283
Rather, it is necessary to determine when plaintiff became           Mich.App. 657, 663, 770 N.W.2d 902 (2009). This Court
aware of the alleged misappropriation.                               enforces settlement agreements according to the plain terms
                                                                     of the agreements. Id. at 664–665, 770 N.W.2d 902. Further,
 *7 At this stage, discovery is necessary to determine               “this Court must honor the parties' contract, and not rewrite
whether and when any misappropriation occurred. Only                 it.” Id. at 665, 770 N.W.2d 902.
after discovery is completed can it be determined whether
the release bars Counts II and IV against EnterMarket.               Here, the parties freely entered into a binding settlement
Accordingly, we conclude that the grant of summary                   agreement in which plaintiff released and forever discharged
disposition as to Counts II and IV was premature and remand          defendant from all claims “known or unknown, accrued
for discovery and other proceedings not inconsistent with this       or unaccrued.” Plaintiff now seeks to rewrite the release
opinion. 2                                                           by transplanting a date limitation into the governing
                                                                     provision. The transplantation would undoubtedly sweeten
2                                                                    the settlement agreement for plaintiff, but would also
       We have not addressed whether summary
                                                                     impermissibly alter the plain terms of the agreement. In my
       disposition was proper under MCR 2.116(C)(8)
                                                                     view, this Court should not allow plaintiff to create a hybrid
       because the trial court indicated that plaintiff's
                                                                     apple from which to take a second proverbial bite, however
       claims were not deficient and EnterMarket has not
                                                                     sweet. I would affirm the trial court.
       appealed that decision.


                                                                     All Citations
                      CONCLUSION
                                                                     Not Reported in N.W.2d, 2010 WL 4628643
We affirm the trial court's grant of summary disposition
in favor of EnterMarket as to Count III, but reverse as to

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